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           Case Number                                  Case Type                     Plaintiff

           CV18-00515                                   REAL PROP-OTHER REAL          STARK RANCH-WEST, LLC
                                                        PROP

           Defendant                                    File Date                     Disposition Date

           REDI-MIX, LLC, ET AL                         08/20/2018



           Report Filed                                 Case Type                     Plaintiff

           CV18-00515                                   REAL PROP-OTHER REAL          STARK RANCH-WEST, LLC
                                                        PROP


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                                                                     PLAINTIFF'S FIRST
                                             08/20/2018              AMENDED                  68
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           STARK RANCH-                                              CIVIL SUIT PLUS 1
                                             08/21/2018                                       0
           WEST, LLC                                                 CITATION/CS

           STARK RANCH-                                              CIVIL SUIT PLUS 1
                                             08/21/2018                                       0
           WEST, LLC                                                 CITATION/CS

                                                                     CITATION ISSUED
                                                                     TO REDI MIX/ATTY
                                             08/22/2018              WILL HAVE                2
                                                                     SOMEONE PICK
                                                                     THEM UP.

                                                                     RETURN OF
                                             08/28/2018              SERVICE FOR REDI-        3
                                                                     MIX-SERVED/CS



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                                                               JUDGE REGARDING
                                             09/26/2018        FIRST SCHEDULING  1
                                                               CONFERENCE/EMAILE
                                                               TO ATTYS

                                                               ORDER FOR FIRST
                                                               SCHEDULING
                                             09/26/2018                          1
                                                               CONFERENCE/EMAILE
                                                               TO ATTYS/CS

                                                               COPY OF ORDER
                                                               FOR FIRST SC TO
                                                               ATTORNEY BOYD A.
                                             10/17/2018        MOUSE RETURNED         1
                                                               - NOT
                                                               DELIVERABLE- JAN
                                                               MAILED TO ATTY

                                                               JOINT MOTION
                                                               FOR ENTRY OF
                                             10/31/2018        STIPULATED             2
                                                               PROTECTIVE
                                                               ORDER/JB

                                                               ORDER FOR
                                                               SECOND
                                                               SCHEDULING
                                             10/31/2018                               2
                                                               CONFERENCE/TP
                                                               COPIES GIVEN
                                                               AFTER HEARING

                                                               STIPULATED
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                                                               ORDER **AS TO
                                             10/31/2018                          14
                                                               DOCUMENTS**/TP(CO
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                                             03/27/2019        FIRST AMENDED          2
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                                                               DEFENDANT'S
                                                               MOTION TO QUASH
                                                               PLAINTIFF'S
                                             04/25/2019                               3
                                                               NOTICE OF
                                                               DEPOSITION OF
                                                               REDI-MIX, LLC/JB

                                                               DEFENDANT'S
                                                               OBJECTIONS AND
                                                               RESPONSES TO
                                                               PLAINTIFF'S
                                             05/15/2019                               13
                                                               EIGHTH AMENDED
                                                               NOTICE OF ORAL
                                                               DEPOSITION OF
                                                               REDI

                                                               PLAINTIFF'S
                                             06/14/2019        SECOND AMENDED         79
                                                               PETITION/MG

                                                               REPORTER'S
                                                               CERTIFICATION
                                             07/02/2019        DEPOSITION OF:         6
                                                               DAVID BEHRING
                                                               MAY 17, 2019/TC

                                                               DEFENDANT'S
                                                               MOTION TO QUASH
                                                               PLAINTIFF'S
                                             07/03/2019        NOTICE OF              2
                                                               DEPOSITION OF
                                                               HERSCHEL
                                                               PEERY/MG

                                                               NOTICE OF
                                                               INTENTION TO
                                                               TAKE DEPOSITION
                                                               BY WRITTEN
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                                                               UNDERWOOD
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                                                               NOTICE OF
                                                               INTENTION FOR
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                                                               PRODUCTION OF
                                                               DOCUMENTS /TC

                                                               NOTICE OF
                                                               INTENTION FOR
                                             08/08/2019        PRODUCTIONS OF         12
                                                               DOCUMENTS
                                                               FIRMATEK, LLC/JB

                                                               PLAINTIFF'S THIRD
                                             08/12/2019        AMENDED                76
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                                                               LETTER
                                                               REQUESTING
                                                               CITATIONS TO BE
                                                               ISSUED TO OK
                                             08/12/2019                               2
                                                               CHRISTIAN
                                                               UNIVER, NCTC,
                                                               UNITED WAY &
                                                               FROST BANK/TC

                                                               CITATION ISSUED
                                                               TO OKLAHOMA
                                                               CHRISTIAN
                                                               UNIVERSITY
                                             08/12/2019                               2
                                                               /DISREGARD
                                                               SHOULD HAVE
                                                               BEEN SENT
                                                               CERTIFIED

                                                               CITATION ISSUED
                                                               TO NORTH
                                                               CENTRAL TEXAS
                                             08/12/2019                               2
                                                               COLLEGE/TC
                                                               EMAILED TO ATTY
                                                               FOR SERVICE

                                                               CITATION ISSUED
                                                               TO UNITED WAY OF
                                                               COOKE
                                             08/12/2019                               2
                                                               COUNTY/TC
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                                                               FOR SERVICE


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                                                               CITATION ISSUED
                                                               TO FROST
                                             08/12/2019        BANK/TC EMAILED         2
                                                               TO ATTY FOR
                                                               SERVICE

                                                               FEE FOR 3
                                                               REGULAR
           STARK RANCH-
                                             08/13/2019        CITATIONS & 1           0
           WEST, LLC
                                                               CERTIFIED
                                                               CITATION/TC

                                                               PAYMENT FOR 3
                                                               CITATIONS AND
           STARK RANCH-
                                             08/13/2019        PARTIAL PAYMENT         5
           WEST, LLC
                                                               FOR CERTIFIED
                                                               CITATION/TC

                                                               PAYMENT FOR
                                                               REMAINEDER OF
           STARK RANCH-
                                             08/13/2019        CERTIFIED               2
           WEST, LLC
                                                               MAILING OF
                                                               CITATION/TC

                                                               CITATION RE-
                                                               ISSUED TO
                                                               OKLAHOMA
                                                               CHRISTIAN
                                             08/13/2019                                1
                                                               UNIVERSITY VIA
                                                               CERTIFIED
                                                               MAIL/COPY TO
                                                               ATTY/TC

                                                               GREENCARD
                                                               RETURNED FROM
                                                               OKLAHOMA
                                                               CHRISTIAN
                                             08/21/2019                                2
                                                               UNIVERSITY
                                                               REGISTERED
                                                               AGENT STEPHEN
                                                               ECK/CS


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           JANELLE M.                        TERESA WARD
           HAVERKAMP


                         Name                           Defendant/Plaintiff             Attorney

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                                                                 Marci A. Gilbert
                                                                 District Clerk
                                                                 Cooke County, Texas
                              CAUSE NO. CV18-00515               Janice Brewer

STARK RANCH-WEST, LLC                            §    IN THE DISTRICT COURT
                                                 §
         Plaintiff,                              §
                                                 §
v.                                               §    235th JUDICIAL DISTRICT
                                                 §
REDI-MIX, LLC                                    §
                                                 §
         Defendant.                              §    COOKE COUNTY, TEXAS

                          PLAINTIFF'S FIRST AMENDED PETITION

         Stark Ranch-West, LLC ("Stark Ranch") files its First Amended Petition against Redi-Mix,

LLC ("Redi-Mix") and respectfully states to the Court as follows:

                                     I.
                DISCOVERY CONTROL PLAN AND RULE 47 STATEMENT

         1.       Stark Ranch intends to conduct discovery under Level 2 discovery control plan, as

provided by of Rule 190.3 of the Texas Rules of Civil Procedure ("TRCP"). At this time, and subject

to obtaining discovery, Stark Ranch seeks monetary relief over $200,000 but not more than

$1,000,000.

                                                II.
                                              PARTIES

         2.       Stark Ranch is a domestic limited liability company organized under the laws of the

State of Texas.

         3.       Redi-Mix is a domestic limited liability company organized under the laws of the

State of Texas. Process may be served on its registered agent, Corporation Service Company d/b/a

CSC-Lawyers        Incorporating   Service    Company, at    211    E.   7th    Street,   Suite     620

Austin, Texas 78701.




PLAINTIFF'S ORIGINAL PETITION                                                                     Page 1
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                                                III.
                                     JURISDICTION AND VENUE

          4.      This Court has subject-matter jurisdiction over this cause because the amount in

controversy is within the Court's jurisdictional limit.

          5.      This Court has personal jurisdiction over Redi-Mix because it is a Texas entity, does

business in Texas, and/or has had minimum contacts with Texas such that the maintenance of this

lawsuit in Texas does not offend traditional notions of fair play and substantial justice.

          6.      Venue is mandatory in Cooke County, Texas because this action is for recovery of

damages to real property located in Cooke County, Texas. 1 Alternatively, venue is proper in Cooke

County, Texas because all or a substantial part of the events or omissions giving rise to the claims

herein occurred in Cooke County, Texas. 2

                                               IV.
                                        STATEMENT OF FACTS

          7.      As mentioned above, Redi-Mix, a domestic limited liability company with its

principal place of business located at 331 N. Main Street Euless, Texas 76039, operates various

mining activities.

          8.      The activities involved in this suit concern the physical incursion by Redi-Mix onto

the real property of Stark Ranch located in Cooke County, Texas. Redi-Mix's actions constitute

trespass upon the Stark Ranch located in Cooke County, Texas and the conversion by Redi-Mix of

property (sand) owned by Stark Ranch.

          9.      On or about May 31, 2018, Stark Ranch closed on its purchase of a tract of real

property located in Cooke County, from Paul Parker Yarbrough, Jr. and Joanne Keeter (collectively,

"Sellers"). A true and correct legal description of the real estate purchased from Sellers is attached


1
     TEX. CIV. PRAC. & REM. CODE § 15.011.
2
    Id. § 15.002(a)(1).



PLAINTIFF'S ORIGINAL PETITION                                                                   Page 2
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hereto as Exhibit "A." The real property the subject of Exhibit "A" is referred to hereafter as the

("Property"). As a part of the purchase of the Property, the Sellers assigned to Stark Ranch certain

causes of action previously owned by Sellers ("Assignment"), a true copy of which is attached as

Exhibit "B."

       10.     Upon information and belief, a mining lease was executed on June 3, 2011 by and

among various parties. A true copy of the mining lease is attached hereto as Exhibit "C" ("Mining

Lease"). The Mining Lease was subsequently assigned to Redi-Mix on September 30, 2013. A true

and correct copy of the Memorandum of Lease Assignment and Amendment of Mining Lease is

attached hereto as Exhibit "D" ("Assigned Lease").

       11.     In or around 2015, Redi-Mix trespassed upon the Property and began to mine sand

from the Property. Thereafter, over the objections of Sellers, and the Property having been posted

"No Trespass," Redi-Mix continued to trespass upon the Property and mine sand from the

Property.    During that time, Redi-Mix also deforested timber and other vegetation from the

Property.

       12.     To this day, Redi-Mix continues to trespass upon the Property, mine sand from the

Property, and convert the sand to its own possession, ownership, use, and profit.

       13.     On or about June 8, 2018, Steve Schmitz, Vice President of Stark Ranch, left a

voicemail on the direct telephone line of David Behring ("Behring") requesting that Behring return

the call for purposes of discussing Redi-Mix's wrongful incursion and conversion on the Property.

Behring, upon information and belief, is Redi-Mix's president.

       14.     Only after Stark Ranch's legal counsel sent Behring a letter on June 15, 2018

regarding the trespass and conversion did Behring respond with his willingness to converse about

the actions Schmitz complained about on behalf of Stark Ranch.




PLAINTIFF'S ORIGINAL PETITION                                                                Page 3
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       15.     On or about June 21, 2018, Behring met with Schmitz in Cooke County for

purposes of discussing the concerns of Stark Ranch and also to overfly the areas of concern. During

the meeting, Schmitz advised Behring that Redi-Mix was trespassing upon the Property and

wrongfully converting sand from the Property. Behring requested information regarding the

methodology used in determining that Redi-Mix was trespassing on the Property. Schmitz agreed to

provide Behring with the requested information.

       16.     Following their meeting in Cooke County, Schmitz sent Behring an email on June

25, 2018, whereby he explained to Behring that Stark Ranch engaged a licensed state land surveyor

and registered professional land surveyor to determine the Property's gradient boundary line along

the Red River. Schmitz further explained that the expert surveyor determined the Property's gradient

boundary lines relying on a concept and methodology developed in United States Supreme Court

opinion State of Oklahoma v. State of Texas, 260 U.S. 606 (1923)). A true and correct copy of the June

25, 2018 email is attached as Exhibit "E."

       17.     On July 9, 2018, Behring responded to Schmitz's earlier email, disagreeing with the

surveyor's findings and suggesting that a Red River Boundary Compact (the "Compact") rule, not

the surveyor's methodology, should have been used in determining the Property boundary line. A

true and correct copy of the July 9, 2018 email is attached as Exhibit "F."

       18.     On July 18, 2018, Schmitz sent a follow-up email to Behring, explaining that the

Compact did not apply when determining the location of the Property's boundary lines because the

text of the Compact explicitly states that it is not the governing authority to establish boundaries of

private landowners. A true and correct copy of the July 18, 2018 email is attached as Exhibit "G."




PLAINTIFF'S ORIGINAL PETITION                                                                   Page 4
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                                                  V.
                                           CAUSES OF ACTION

                                 COUNT I: INTENTIONAL TRESPASS

           19.       Stark Ranch incorporates by reference all allegations contained above as if fully set

forth herein.

           20.       Stark Ranch became the owner of the Property when it was purchased from Sellers

on May 31, 2018. In connection with said purchase, Sellers assigned to Stark Ranch its rights to sue,

including its right to sue Redi-Mix. 3 Stark Ranch recently discovered that Redi-Mix intentionally and

voluntarily trespassed, and continues to trespass, on the Property. More specifically, Stark Ranch

recently discovered that in or around 2015, Redi-Mix entered the Property without authorization and

began mining sand. During that time, it also deforested timber and other vegetation from the

Property without authorization.

           21.       Additionally, Redi-Mix continues to intentionally and voluntarily trespass on the

Property. Since 2015 to present, Redi-Mix continues to mine sand from the Property over the

Sellers' and Stark Ranch's objections. "No Trespass" signs have continuously been posted on the

Property. Redi-Mix knew when entering the Property, and is still aware, that the Property is beyond

the boundaries of the Assigned Lease and any mining on the Property is without authorization.

           22.       Redi-Mix's unauthorized, intentional trespass to the Property has caused damage for

which Stark Ranch is entitled to recover. Stark Ranch is entitled to recover (1) actual damages for

the injury to the land for its loss of use of the land, loss of expected profits from the use of the land,

loss of market value of land, and the intrinsic value of trees and plants, and (2) exemplary damages

for Redi-Mix's complete disregard of Sellers' and Stark Ranch's rights to the Property.




3
    See Exhibit B.



PLAINTIFF'S ORIGINAL PETITION                                                                      Page 5
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                             COUNT II: NEGLIGENT TRESPASS

        23.     Stark Ranch incorporates by reference all allegations contained above as if fully set

forth herein.

        24.     In the event that an intentional trespass is not found, Stark Ranch alternatively

asserts that Redi-Mix owed a duty to Sellers and Stark Ranch to not trespass on the Property and

abide by the boundaries provided in the Assigned Lease.

        25.     Redi-Mix breached this duty by failing to ascertain whether or not it was mining

within the boundaries provided in the Assigned Lease. Redi-Mix further breached this duty by failing

to ascertain whether or not it was deforesting timber and other vegetation from the Property.

        26.     Redi-Mix's negligent acts are the proximate cause of Sellers' and Stark Ranch's

property damages and loss of use of the Property. Accordingly, Stark Ranch is entitled to recover all

damages caused by Redi-Mix's negligence.

                            COUNT III: CONVERSION OF SAND

        27.     Stark Ranch incorporates by reference all allegations contained above as if fully set

forth herein.

        28.     As described above, since 2015 to the present date, Redi-Mix continues to mine and

convert sand from the Property for its own possession, ownership, use and profit, despite Sellers'

and Stark Ranch's objection to said mining and despite the posting of a "No Trespass" signs on the

Property.

        29.     In so doing, Redi-Mix has wrongfully exercised dominion and control over the sand

and Sellers and Stark Ranch have been deprived the value of the sand. Accordingly, Stark Ranch is

entitled to recover all damages caused by Redi-Mix's conversion of the sand from the Property.




PLAINTIFF'S ORIGINAL PETITION                                                                   Page 6
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                   COUNT IV: REQUEST FOR DECLARATORY RELIEF

        30.      Stark Ranch incorporates by reference all allegations contained above as if fully set

forth herein.

        31.      Pursuant to chapter 37 of the Texas Civil Practice & Remedies Code ("TCPRC"),

Stark Ranch requests the Court to enter a Declaratory Judgment declaring, in whole or in part, one

or more of the following:

        (a)      The Red River Boundary Compact ("Compact") does not apply to this matter
                 because the Compact explicitly states that the it does not interfere with or otherwise
                 affect private property rights or rights to title; and

        (b)      Even if the Compact does apply, which Stark Ranch does not contend, its
                 application would not alter the outcome of this matter.

        32.      As alluded to in section IV of this Petition, a controversy exists between the parties

as to whether the Compact applies in determining the Property's boundary lines. Stark Ranch seeks

these declarations in order to afford it relief from the uncertainty with respect to the Compact's

application to this matter.

                                         VI.
                          APPLICATION FOR INJUNCTIVE RELIEF

        33.      Stark Ranch incorporates by reference all allegations contained above as if fully set

forth herein.

        34.      Additionally and/or alternatively, pursuant to Chapter 65 of the TCPRC and Rule

680 of the TRCP, Stark Ranch seeks injunctive relief against Redi-Mix.

        35.      Stark Ranch has demonstrated a probable right to relief and a likelihood of success

on the merits.

        36.      By reason of the acts and practices of Redi-Mix, as more fully set forth herein above,

Stark Ranch is suffering, and continues to suffer, incalculable financial loss and great and irreparable

injuries to its Property for which it has no adequate remedy at law.



PLAINTIFF'S ORIGINAL PETITION                                                                    Page 7
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        37.      An eminent threat exists that Redi-Mix will continue to trespass upon the Property

and convert sand from the Property. As of the date of this Petition, Redi-Mix continues to trespass

upon the Property and convert sand from the Property for its own possession, ownership, use, and

profit, without authorization.

        38.      Unless Redi-Mix is enjoined from doing so, Stark Ranch will be irreparably harmed

because, among other things, damages are not presently ascertainable and/or cannot be measured by

any certain pecuniary standard.

        39.      Further, pursuant to section 65.011(5) of the TCPRC, Stark Ranch has a statutory

right to an injunction for the threatened irreparable injury to the Property, irrespective of any

remedy at law.

        40.      By virtue of the foregoing, a balancing of the equities favors the issuance of a

Temporary Restraining Order and Temporary Injunction against Redi-Mix. Stark Ranch respectfully

prays that this Court issue a Temporary Restraining Order and that Redi-Mix, its agents, officers,

directors, employees, and any other person or entity acting in concert with or on behalf of Redi-Mix

who receive actual notice of the Court's Order by service or otherwise, be ordered, in whole or in

part, as follows:

        (a)         Redi-Mix shall desist and refrain from entering the Property and from altering,
                    modifying, removing, and/or destroying any sand, timber, or vegetation on the
                    Property.

        41.      Stark Ranch is ready and willing to post an appropriate bond set by the Court. Stark

Ranch further requests that the Court schedule a hearing at which time Redi-Mix should be required

to appear and show cause why a Temporary Injunction should not be issued prohibiting Redi-Mix's

activities through the time of trial, and that, upon such hearing, a Temporary Injunction be issued

prohibiting Redi-Mix's activities to the time of trial and, thereafter, a Permanent Injunction upon

final trial, to restrain Redi-Mix from the foregoing activities.



PLAINTIFF'S ORIGINAL PETITION                                                                 Page 8
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                                          VII.
                              REQUEST FOR ATTORNEYS' FEES

          42.    Stark Ranch incorporates by reference all allegations contained above as if fully set

forth herein.

          43.    As a result of Redi-Mix's conduct, Stark Ranch has retained the services of Kane

Russell Coleman Logan PC, licensed attorney's to enforce its rights and protect its legal interests.

Stark Ranch has agreed to pay Kane Russell Coleman Logan PC reasonable and necessary attorney's

fees and expenses. Pursuant to section 37.009 of the TCPRC, Stark Ranch is entitled to recover

from Redi-Mix its reasonable and necessary attorneys' fees, court costs and expenses in pursuing this

action.

                                           VIII.
                                   CONDITIONS PRECEDENT

          44.    All conditions precedent to recovery for the relief sought herein have been

performed, have occurred, or have been satisfied.

                                            IX.
                                  REQUEST FOR DISCLOSURES

          45.    Pursuant to Rule 194, Defendant is requested to disclose, within thirty (30) days of

service of this request, the information or material described in Rule 194.2, (a) – (l).

                                                  X.
                                                PRAYER

          WHEREFORE, Plaintiff Stark Ranch requests that Redi-Mix be cited to appear and answer

herein and, upon final hearing of this cause, the Court enter a judgment in favor of Stark Ranch

against Redi-Mix for the following:


          a.     Declaratory relief as requested herein;

          b.     Injunctive relief as requested herein;

          c.     Judgment against Redi-Mix for damages in an amount proven at trial or hearing


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              within this Court's jurisdictional limits;

       d.     Pre-and post-judgment interest as allowed by law;

       e.     Reasonable and necessary attorneys' fees;

       f.     Costs of court;

       g.     Such other and further relief to which Stark Ranch may be justly entitled.


                                               Respectfully submitted,

                                               KANE RUSSELL COLEMAN LOGAN PC
                                               1601 Elm Street, Suite 3700
                                               Dallas, Texas 75201
                                               (214) 777-4200 / Fax (214) 777-4299


                                               By: _s/ Boyd A. Mouse____________________
                                                    Kenneth W. Biermacher
                                                    State Bar No. 02302400
                                                    Boyd A. Mouse
                                                    State Bar No. 24003949
                                                    Emily Green
                                                    State Bar No. 24106027

                                                     ATTORNEYS FOR PLAINTIFF




                                                                     6436502 V4 (71175.00003.000)




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                           DECLARATION OF STEVE SCHMITZ

        1.      My name is Steve Schmitz, my date of birth is November 1, 1972 and my address is

201 West California Street Gainesville, Texas 76240. I am competent to execute this Declaration.

        2.      I am the Vice President of Stark Ranch-West, LLC ("Stark Ranch") and have served

in such capacity since approximately February 22, 2018. Among other things, my duties have

included day-to-day oversight of the operations and business of Stark Ranch, including its

acquisition of a tract of real property located in Cooke County, Texas and having direct

communications with employees and representatives of Redi-Mix, LLC. I have personal knowledge

of the facts described in this Declaration and I declare under the penalty of perjury that those facts

are true and correct.

        3.      I have read the foregoing Plaintiff's First Amended Petition (the "Amended

Petition") and know its contents. The matters stated in paragraphs 8–10 and 12–18 therein,

including any footnotes in such paragraphs, are true and correct.

        4.      I am a custodian of records for Stark Ranch and am familiar with the manner in

which its records are created and maintained by virtue of my duties and responsibilities. Exhibits A,

B, E, and G attached to the Amended Petition hereto contain pages of records from Stark Ranch.

These are exact duplicates of the original records. It is the regular practice of Stark Ranch to make

these types of records at or near the time of each act, event, condition, opinion, or diagnosis set

forth in the records. It is the regular practice of Stark Ranch for these types of records to be made

by, or from information transmitted by, persons with knowledge of the matters set forth in them. It

is the regular practice of Stark Ranch to keep these types of records in the course of regularly

conducted business activity. It is the regular practice of the business activities to make these

records.




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        Executed in   We.. County, State of Texas, on the {)b _J._day of August, 2018.




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                                    Exhibit ..A"
 Tract One:
fiELD NOTES TO 2022.20 ACRES IN THE B.B.B. & C.R.R. CO. SURVEY ABSTRACT 156,
ET AL, COOKE COUNTY, TEXAS

All that certain tract or parcel of land situated in the B.B B. ~ C.R.R. Co.
Survey Abstract 156, the J.P. Havins Survey Abstract 455, the c. Hart Survey
Abstract 461, the S.B. Murrell Survey Abstract 1420, the W.H. Donham Survey
Abstract 1479, the B.B.B. & C.R.R. Co. Survey Abstract 177, the S.E. Clements
Survey Abstract 264, the R. McFall Survey Abstract 674, the J.N. Wright
Survey Abstract 1535, the J.G. Jones Survey Abstract 1206, the A. Elston
Survey Abstract 351, the J.S.H. Donham Survey Abstract 1244, the C.E. Fallis
Survey Abstract 1516, the S.B. Murrell Survey Abstract 14~1, the David smith
Survey Abstract 173, the Thomas Wright Survey Abstract 1156, the
B. A. Stanford Survey Abstract 1445, the A. Hodge Survey Abstract 1388, the
J.N. Murrell Survey Abstract 1525, the B.C. forbes Survey Abstract 1614, the
V.A. Howeth Survey Abstract 1631, the MCKinney and Williams Survey Abstract
755, and the Jacob Spears Survey Abstract 915, Cooke County, texas, being all
of a called 1546 acre tract conveyed by Laura Josephine Jones to frances
Yarbrough by deed recorded in Volume 325, page 110 of the Cooke County Deed
Records, being a part of a called 530 acre tract described in a deed from
Laura Josephine Jones to frances Yarbrough recorded in Volume 371, page 3 of
said Deed Records, and being all of a 0.91 acre tract conveyed by Robert T.
Lewis, et ux to Paul Yarbrough, et ux by deed recorded in Volume 719, page
629 of said Deed Records, and being more particularly described as follows:

BEGINNING at a set steel pin on the West line of said 530 acre tract located
North DO degrees 06 minutes 46 seconds West, a distance of 62.31 feet from
the Southwest corner of said 530 acre tract, on the Northwesterly line of
f.M. Road 1202 which was the right-of-way for McKinley Avenue during the Camp
Howze period, and was granted by the USA to Cooke County by deed recorded in
Volume 322, page 114 of said Deed Records, said point also being the
Southeast corner of a tract conveyed to Mollie Eaton by deed recorded in
Volume 1448, page 314 of the Cooke County Official Public Records;

THENCE North 00 degrees 06 minutes 46 seconds West, with the West line of
said Yarbrough tract, along and near a fence, passing the Northeast corner of
said Mollie Eaton tract, same being a Southeast corner of a tract described
in a deed to Karl Trubenbach Land LP recorded in Volume 2049, page 702 of the
cooke county Official Public Records, continuing and passing the Northwest
corner of said 530 acre tract, same being the southwest corner of said 1546
acre tract, continuing with the West line of said 1546 acre tract and passing
a Northeast corner of said Trubenbach Land LP, same being the Southeast
corner of a tract described in a deed to James Martin Lewis recorded in
Volume 866, page 141 of said Deed Records, continuing with said West line of
Yarbrough tract and the East line of previously said Lewis tract, and passing
the Lewis tract's Northeast corner, common to the Southeast corner of a tract
described as Exhibit c in a deed to Rob~rt Lewis, I I I recorded in said Volume
866, page 141 of said Deed Records, continuing and passing the Westernmost
Northwest corner and the North corner of said 0. 91 acre tract, (said North
corner being on the Northeast line of a called 20.89 acre tract described in
a deed from W.P. Clements, Jr., Governor of the State of Texas, et al to
Robert r. Lewis, Jr., et ux recorded in Volume 666, page 421 of said Deed
Records) , continuing and passing the Northeast corner of said Robert Lewis
tract, common to the southeast corner of a tract described in a deed to
r. Michael Sparks recorded in Volume 1404, page 16~ of said Public Records,
continuing with said common line a total distance of 13,649.55 feet to a
square pipe found at a fence corner at the Northeast corner of said sparks
tract, common to the Southeast corner of a tract conveyed to Ken Fomby by
deed recorded in Volume 1139, page 603 of said Public Records;

THENCE North 00 degrees 08 minutes 28 seconds West, along and near a fence,
continuing with the West line of said Yarbrough tract, a distance of
5629.45 feet to a wooden fence corner at the Northwest corner of said 1546 acre
tract, on the North line of said Wright Survey, common to the South line of
the T. Booker Survey Abstract 72;


                                Page 1 of 3
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    EBB & CRR Co Su
    2022.20 ac. tr.
    Abstract 156, et al




    southeasterly, 722.25 feet along a curve to the right having a radius
    of 2789.93 feet and a chord of south 01 degree 15 minutes OS seconds
    East, a distance of 720.27 feet to a set steel pin at the end of sa1d
    curve;
    South 06 degrees 09 minutes 52 seconds West, a distance of 2316.98 feet
    to a set steel pin at the beginning of a curve;
    Southeasterly, 692.67 feet along a curve to the left having a rad1us of
    2939.93 [eet and a chord of South 00 degrees 35 minutes 08 seconds 8ast,
    a distance of 691.10 feet to a set steel pin at the end of said curve;
    south 07 degrees 20 minutes 08 seconds East, a distance of 1842.51 feet
    to a set steel pin at the beginning of a curve;
    southeasterly, 689.79 feet along a curve to the right having a radius
    of 2789.93 feet and a chord of South 00 degrees 15 minutes 08 seconds
    East, a distance of 688.07 feet to a set steel pin at the end of said
    curve;
    south 06 degrees 49 minutes 52 seconds west, a distance ¢E 283.34 feet
to a set steel pin at a fence corner at the Southeast corner of sa1d
Yarbrough tract;

THENCE North 87 degrees 39 minutes 26 seconds West, with the South line
of sa1d tract, a distance of 5384.51 feet to a set steel pin on the
Northeastern line of said f.M. Road 1202;

THENCE North 25 degrees 30 minutes 43 seconds West, with said Northeastern
line, crossing an access easement roadway, and continuing a total distance
of 80.97 feet to a set steel pin near a power pole:
THENCE South 64 degrees 22 minutes 17 seconds West, with the Northwestern
line of said F.M. Road 1202, a distance of 19.91 feet to the point of
beginning containing 2022.20 acres of land.
                                                                      15860·5
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 LESS AND EXCEPT THE FOLLOWING TRACT:

 FIELD NOTES TO 11.41 ACRES IN THE B.B.B. & C.R.R. CO. SURVEY ABSTRACT 156,
 ET AL, COOKE COUNTY, TEXAS
 All that certain tract or parcel of land situated in the B.B.B. & C.R:R. Co.
 survey Abstract 156 and the J. P. Havins Survey Abstract 455, Cooke county,
 Texas, being all of a tract described as Water Well Site No. 2 in a deed from
 The United States of America to the City of Gainesville recorded in Volume 366,
 page 625 of the Cooke County Deed Records, and all of a tract conveyed by
 Parker Yarbrough, et al to City of Gainesville by deed recorded in Volume 108'1,
 page 331 of the Cooke Count·y Official Public Records and being more
 particularly described as follows:

 BEGINNING at a found steel pin at the Northwest corner of said Water Well Site
 No. 2, said beginning corner further being located North 00 degrees 06 minutes
 46 seconds West, a distance of 770.21 feet and North 89 degrees 53 minutes
 14 seconds East, a distance of 141.14 feet from the Southwest corner of a tract
 described in a deed to Frances Yarbrough recorded in Volume 371, page 3 of said
 Deed Records;

 THENCE North 64 degrees 30 minutes 33 seconds East, with the North line of said
 Water Well Site No. 2, a distance of 77.28 feet to a found steel pin at a West
 corner of said Yarbrough to City of Gainesville tract;

 THENCE North 25 degrees 27 minutes 13 seconds East, a distance of 454.63 feet
 to a found steel pin at the Northernmost Northwest corner of said Yarbrough
 to City of Gainesville tract;

THENCE North 69 degrees 31 minutes 59 seconds East, a distance of 478.58 feet
to a found steel pin at the Northeast corner of said Yarbrough to City. of
Gainesville tract;

THENCE South 20 degrees 21 minutes 59 seconds East, a distance of 654.74 feet
to a found steel pin at the Southeast corner of said Yarbrough to City of
Gainesville tract;
THENCE South 69 degrees 37 minutes 25 seconds West, a distance of 673.56 feet
to a fence corner at the Southernmost Southwest corner of said Yarbrough to
City of Gainesville tract, common to the Southeast corner of said Wate.r Well
Site No. 2;
THENCE South 64 degrees 38 minutes 26 seconds West, with the South line of said
water Well Site No. 2, a distance of 178.00 feet to a found steel pin at the
Southwest corner of said Water Well Site No. 2;
 THENCE North 25 degrees 26 minutes 27 seconds West, a distance of 347.14 feet
,to the point of beginning containing 11.41 acres of land.


CITY OF GAINESVILLE WATER WELL SITE NO. 2
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Accreted land                                                  pg. 2 of 2
  South 48 degrees 27 minutes 24 seconds East for a distance of 105.55 feet to a
 corner;
      South 35 degrees 4~ minutes 14 seconds West for a distance of 30.81 feet
 to a corner;
      South 06 degrees 06 minutes 56 seconds East for a distance of 84.48 feet
 to a cornel:";
      South 36 degrees 15 minutes 14 seconds East for a distance of 37.20 feet
to a corner;
      South 72 degrees 15 minutes 19 seconds East for a distance of 78.75 feet
to a corner;
      South 33 degrees 06 minutes 41 seconds West for a distance of 82.38 feet
to a corner;
      South 15 degrees 31 minutes 27 seconds East for a distance of 37.36 feet
to a corner;
      South 40 degrees 14 minutes 11 seconds East for a distance of 85.15 feet
to a corner;
      South 55 degrees 54 minutes 18 seconds East for a distance of 78.49 feet
to a corner;
      south 24 degrees 23 minutes 58 seconds East for a distance of 106.51 feet
to a corner;
      South 62 degrees 48 minutes 07 seconds East for a distance of 00.95 feet
to a corner;
      South 10 degrees 22 minutes 33 seconds East fol:" a distance of 12.18 feet
t() a c:orner;
      South 45 degrees 00 minutes 00 seconds East for a distance of 43.84 feet
t(t a corner;
      South 39 degrees 24 minutes 02 seconds East for a distance of 72.47 feet
to a corner;
      South 63 degrees 01 minutes 11 seconds East for a distance of 61.72 feet
to a corner;
      South 51 degrees 06 minutes 56 seconds East for a distance of 39.82 feet
to a corner;
      South 21 degrees 57 minutes 38 secnnds East for a distance of 66.85 feet
tO a <:orner;
      south 16 degrees 19 minutes 37 seconds East for a distance of 206.32 feet
to a corner;
      South 12 degrees 01 minutes SO seconds East for a distance of 62.37 feet
to a corner;
      South 65 degrees 46 minutes 20 seconds West for a distance of 21.93 feet
to a corner on the Northeast line of the A. Elston Survey Abst.ract 351, common
to the Northeast line of said Jones to Yarbrough tract;
      Northwesterly, with the Northeasterly line of said Elston Survey and the
J, G. Jones Survey Abstract 1206 as patented the following courses and
distances:
      North 42 degrees 55 minutes 30 seconds West for a distance of 310.24 feet
to a corner;
      North 39 degrees 00 minutes 39 seconds West for a distance of 889.95 feet
to a corner;
      North 38 degrees 45 minutes 04 seconds West for a distance of 193.10 feet
to a corner;
      North 36 degrees 32 minutes 15 seconds West for a distance of 340.94 feet
to a corner;
      North 39 degrees 56 minutes 49 seconds West for a distance of 698.65 feet
to a corner;
      North 41 degrees 25 minutes 24 seconds West for a distance of 1083.85 feet
to a corner;
      North 34 degrees 06 minutes 03 seconds West for a distance of 700.18 feet
to a corner;
      North 43 degrees 47 minutes 51 seconds West for a distance of 1181.31 feet
to a corner;
      North 22 degrees 36 minutes 13 seconds West for a distance of 265.49 feet
to a corner;
      North 33 degrees 01 minute 58 seconds West for a distance of 250.53 feet
to a corner;
      North 25 degrees 43 minutes 04 seconds West for a distance of 172.40 feet
to a corner;
      North 34 degrees 41 minutes 44 seconds West for a distance of 151.47 feet
to the point of beginning and containing 133.77 acres of land.
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                              ASSIGNMENT OF CAUSE OF ACTION


        THIS ASSIGNMENT OF CAUSE OF ACTION (this "Assignment") is made and entered
into as of the_ day of May, 2018 (the "Effective Date"), by and between Paul Parker Yarbrough
Jr. and Jo Anne Keeter (as "Assignors") and Stark Ranch -West, I.LC, a Texas limited liability
company (as "Assignee").

                                           W IT N E S S E T H:

       WHEREAS, Assignors and Assignee previously entered into a Farm and Ranch Contract
dated November 7, 2017 (the "Contract'') whereby Assignors agreed to sell to Assignee
approximately 2,114.85 acres of land located in Cooke County, Texas, described on Exhibit A (the
"Pwperty");

        WHEREAS, Rcdi-Mi.. . ., LLC or its affiliate ("Redi-Mix") is trespassing on, and has trespassed
on, the Property to conduct its mining operation, resulting in damages to the Property and damages
incurred by the Assignors;

        WHEREAS, in consideration for Assignee's purchase of the Property and for Ten dollars
($10.00) and other valuable consideration, the receipt and vah.1e of which is hereby acknowledged,
Assignors agree to assign and transfer to Assignee any claims, demands or causes of action of whatever
kind or nature, that Assignors now have or may have against Redi-Mbi: for any loss, injury, or damage
caused to the Property for trespass, conversion, clouded title and the mining or removal of any
aggregates and other resources from the Property (the "Assigned Claim");

         WHEREAS, Assignors now assign the Assigned Claim, and Assignee accepts such assignment
as set forth herein.

        NOW, THEREFORE, for good and valuable consideration, the parties agree as follows:

        1.       Incorporation of Recitals. The above recitals are incorporated into and shall constitute
                 a part of this Assignment.

        2.       Assignment. Simultaneously with, and conditioned upon, the closing of the sale of
                 the Property to Assignee, Assignors hereby transfer and assign all of their right, title,
                 and interest in and to the Assigned Claim to Assignee, and Assignee hereby accepts
                 the Assigned Claim from Assignors, which shall include Assignors' right to recover
                 and retain amounts for damages that arose prior to the sale of the I1 ropetty to Assignee.

        3.       No Recourse. This Assignment is without recourse. Assignors do not guarantee
                 payment of the Assigned Claim. However, Assignors agree that if any payment with
                 respect to the Assigned Claim is awarded to or otherwise made to Assignors, Assignors
                 shall promptly remit any such payment to Assignee.




STARK RANCH- WEST, LlC
AsSlGNMENT OF CAUSES OF ACTION- PAGE   I
                                             ~      EXHIBIT
                                             £

                                             f
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        4.       Successors and Assigns. This Assignment shall be binding upon and inure to the
                 benefit of each of the parties hereto and their respective heirs, legal representatives,
                 successors and assigns.                                                              ·

        5.       Counterparts. This Assignment may be executed in one or more counterparts, each
                 of which shall be an original and all of which shall constitute but one and the same
                 document.



                  [Remainder of Page Intentionally Left Blank; Signature Page FollowsJ




STi\RI\ RANCH· WEST, LLC
ASSIGNMENT Of CAUSES Of ACTION-PAGE 2
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 94 of 160 PageID #: 100




        IN WITNESS WHEREOF, the parties hereto have executed this Assignment effective as of
the Effective Date.

                                                                      ASSIGNORS:

                                                                      ~~.
                                                                      PAULPARKERYAR ROUGH, . .



STATEOF           ~~J                               )
                                                    )    ss.
COUNTY OF          ,t!sJ~                           )

                                                                                                 ···' 2018, by




My Commission Exp,



          (SEAL)




STATEOF,~M                                          )
                                                    )    ss.
COUNTYOF ~                                          )

          The foregoing instrument was acknowledged before me this           d't_ day of ~ · . _, 2018, by
JoAnne Keeter.




My Commission Expires:~~~~~~~!!::!!!!!~~~!!!;'f
~"'""":::"~""'""':"~~---:--~~lfl-r:_~~~~Y'f.'1?)    KRIST! KLEINERT
My Commission No.:                  {'"/~',~\      MY COMMISSION EXPIRES
                                  \~}~'r ,.,            07/15{2020
---~----"*" ~f!:~ NOTARY ID: 124990073




STARK RANCII- WEST, LLC
ASSIGNMENT OF CWS£SOF ACTION,·SIGNATUR£ PAGE
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 95 of 160 PageID #: 101




                                                          ASSIGNEE:

                                                          STARK RANCH- WEST, LLC,
                                                          a Texas limited liability company

                                                          By:             cJ: .
                                                          Name: Steve Schmitz
                                                          Title: Vice-President

STATEOF          ~~                           )
                                              )     ss.
COUNTY       OF~~~                            )

        The foregoing instrument was acknowledged before me this
Steve Schmitz, as the Vice-President of Stark Ranc~                    ;:2 ,.
                                                                       ~ day of-~~                       , 2018, by


                                                                  L~~~4--
                                                          ary Public
My Commission Expires:
                                                                          ),,.·~        ..
My Commission No.:                                                     ~~'...~"-.Y.!'!!f;).   KRIST! KLEINERT
                                                                       (<','.:Jk;,,0 , MY COMMISSION EXPIRES
                                                                       \:~.~ ·~""t          07/15/2020
                                                                       ;~~,;:;~/NOTARY lD: 124990073
                                                                            .,..);,_.t"fll




STA.RII: lUNCH·~ WEST, LlC.
ASSIGNM £NT OF CAUSES OF ACTION= SIGNA TORIZ PAG£
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                                   Exhibit "A"
 Tract One;
FIELD NOTES TO 2022.20 ACRES IN THE B.B.B. & C.R.R. CO. SURVEY ABSTRACT 156,
ET AL, COOKE COUNTY, TEXAS

All that certain tract or parcel of land situated in the B.B B. & C.R.R. Co.
Survey Abstract 156, the J.P. Havins Survey Abstract 455, the c. Hart survey
Abstract 461, the S.B. Murrell Survey Abstract 1420, the W.H. Donham Survey
Abstract 1479, the B.B.B. & C.R.R. Co. Survey Abstract 177, the S.E. Clements
Survey Abstract 264, the R. McFall Survey Abstract 674, the J.N. Wright
Survey Abstract 1535, the J.G. Jones Survey Abstract 1206, the A. Elston
Survey Abstract 351, the J.S.H. Oonham Survey Abstract 1244, the C.E. Fallis
survey Abstract 1516, the S.B. Murrell Survey Abstract 1491, the David Smith
survey Abstract 173, the Thomas Wright Survey Abstract 1156, the
B. A. Stanford Survey Abstract 1445, the A. Hodge Survey Abstract 1388, the
J.N. Murrell Survey Abstract 1525, the B.C. Forbes Survey Abstract 1614, the
V.A. Howeth Survey Abstract 1631, the McKinney and Williams Survey Abstract
755, and the Jacob Spears survey Abstract 915, Cooke County, Texas, being all
of a called 1546 acre tract conveyed by Laura Josephine Jones to Frances
Yarbrough by deed recorded in Volume 325, page 110 of the Cooke County Deed
Records, being a part of a called 530 acre tract described in a deed from
Laura Josephine Jones to Frances Yarbrough recorded in Volume 371, page 3 of
said Deed Records, and being all of a 0.91 acre tract conveyed by Robert T.
Lewis, et ux to Paul Yarbrough, et ux by deed recorded in Volume 719, page
629 of said Deed Records, and being more particularly described as follows:

BEGINNING at a set steel pin on the West line of said 530 acre tract located
North 00 degrees 06 minutes 46 seconds West, a distance of 62.31 feet from
the Southwest corner of said 530 acre tract, on the Northwesterly line of
F.M. Road 1202 which was the right-of-way for McKinley Avenue during the Camp
Howze period, and was granted by the USA to Cooke County by deed recorded in
Volume 322, page 114 of said Deed Records, said point also being the
Southeast corner of a tract conveyed to Mollie Eaton by deed recorded in
Volume 1448, page 314 of the Cooke County Official Public Records;

THENCE North 00 degrees 06 minutes 46 seconds West, with the West line of
said Yarbrough tract, along and near a fence, passing the Northeast corner of
said Mollie Eaton tract, same being a Southeast corner of a tract described
in a deed to Karl Trubenbach Land LP recorded in Volume 2049, page 702 of the
Cooke County Official Public Records, continuing and passing the Northwest
corner of said 530 acre tract, same being the Southwest corner of said 1546
acre tract, continuing with the West line of said 1546 acre tract and passing
a Northeast corner of said Trubenbach Land LP, same being the Southeast
corner of a tract described in a deed to James Martin Lewis recorded in
Volume 866, page 141 of said Deed Records, continuing with said West line of
Yarbrough tract and the East line of previously said Lewis tract, and passing
the Lewis tract's Northeast corner, common to the Southeast corner of a tract
described as Exhibit c in a deed to Robert Lewis, III recorded in said Volume
866, page 141 of said Deed Records, continuing and passing the Westernmost
Northwest corner and the North corner of said 0.91 acre tract, {said North
corner being on the Northeast line of a called 20.89 acre tract described in
a deed from W.P. Clements, Jr., Govern~r of the State of Texas, et al to
Robert T. Lewis, Jr., et ux recorded in Volume 666, page 421 of said Deed
Records), continuing and passing the Northeast corner of said Robert Lewis
tract, common to the Southeast corner of a tract described in a deed to
F. Michael Sparks recorded in Volume 1404, page 169 of said Public Records,
continuing with said common line a total distance of 13,649.55 feet to a
square pipe found at a fence corner at the Northeast corner of said Sparks
tract, common to the. Southeast corner of a tract conveyed to Ken Fomby by
deed recorded in Volume 1139, page 603 of said Public Records;

THENCE North 00 degrees 08 minutes 29 seconds West, along and near a fence,
continuing with the West line of said Yarbrough tract, a distance of
5629.45 feet to a wooden fence corner at the Northwest corner of said 1546 acre
tract, on the North line of said Wright Survey, common to the South line of
the T. Booker survey Abstract 72;


                               !'age 1 of 3
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Abstract 156, et al


THENCE south 89 degrees 24 minutes 42 seconds East, with said common survey
line, along a fence, a distance of 267.14 feet to the Northwest corner of
said Jones Survey, common to the Northeast corner of said Wright Survey and
said Yarbrough tract;

THENCE Southeasterly, with the East line of said Yarbrough tract and the
South bank of said Red River as evidenced by the calls in the various survey
patents which bounds the Red River in the Yarbrough deed, the following
courses and distances:
    South 34 degrees 41 minutes 44 seconds East, a distance of 151.47 feet;
    South 25 degrees 43 minutes 04 seconds East, a distance of 172.40 feet;
    South 33 degrees 01 minute 58 seconds East, a distance of 250.53 feet;
    South 22 degrees 36 minutes 13 seconds East, a distance of 265.49 feet;
    south 43 degrees 47 minutes 51 seconds East, a distance of 1181.31 feet;
    South 34 degrees 06 minutes 03 seconds East, a distance of 700.18 feet;
    south 41 degrees 25 minutes 24 seconds. East, a distance of 1083.85 feet;
    South 39 degrees 56 minutes 49 seconds East, passing the southeast corner
    of said Jones Survey, common to the Northwest corner of said Elston
    Survey and continuing a total distance of 698.65 feet;
    South 36 degrees 32 minutes 15 seconds East, a distance of 340.94 feet;
    south 38 degrees 45 minutes 04 seconds East, a distance of 193.10 feet;
    South 39 degrees 00 minutes 39 seconds East, a distance of 889.95 feet
    to a corner on the gradient boundary of the Red River as surveyed by
    Nedra Foster, LSLS on February 2018;

THENCE continuing along the gradient boundary the following calls and
distances;
    South 39 degrees 32 minutes 10 second East, a distance of 385.33 feet
    South 36 degrees 08 minutes 07 seconds East, a distance of 234.02 feet;
    South 38 degrees 10 minutes 44 seconds East, passing the Northeast corner
    of said Elston Survey, common to the North corner of said Smith Survey
    and continuing a total distance of 297.68 feet;
    South 35 degrees 37 minutes 50 seconds East, a distance of 286.67 feet;
    South 35 degrees 41 minutes 43 seconds East, a distance of 253.65 feet;
    South 34 degrees 19 minutes 49 seconds East, a distance of 148.95 feet;
    South 42 degrees 22 minutes 03 seconds East, a distance of 123.17 feet;
    South 43 degrees 37 minutes 31 seconds East, a distance of 265.24 feet;
    South 45 degrees 34 minutes 58 seconds East, a distance of 208.61 feet;
    south 47 degrees 46 minutes 27 seconds East, a distance of 321.40 feet;
    south 52 degrees 07 minutes 30 seconds East, a distance of 262.24 feet;
    South 60 degrees 46 minutes 51 seconds East, a distance of 67.60 feet;
    South 66 degrees 06 minutes 17 seconds East, a distance of 172.92 feet
    to the Northeast corner of said Yarbrough tract, on the West line of the
    G.C. & S.F. Railroad;
THENCE Southerly, with the East line of said Yarbrough tract, common to the
west line of said railroad, the following courses and distances:
    South 36 degrees 08 minutes 23 seconds West, a distance of 546.05 feet
    to a set steel pin at the beginning of a curve;
    Southwesterly, 1767.07 feet along a curve to the left having a radius
    of 1985.08 feet and a chord of South 10 degrees 38 minutes 08 seconds
    West, a distance of 1709.47 feet to a set steel pin at the end of said
    curve;
    south 14 degrees 52 minutes 08 seconds East, a distance of 500.86 feet
    to a set steel pin at the beginning of a curve;
    Southeasterly, ~98.85 feet along a curve to the right having a radius of
    1835.08 feet and a chord of South 05 degrees 31 minutes 08 seconds East,
    a distance of 596.27 feet to a set steel pin at the end of said curve;
    South 03 degrees 49 minutes 52 seconds West, a distance of 1893.14 feet
    to a set steel pin at the beginning of a curve;
    Southeasterly, 641.36 feet along a curve to the left having a radius
    of 2939.93 feet and a chord of South 02 degrees 25 minutes 08 seconds
    East, a distance of 640.12 feet to a set steel pin at the end of said
    curve;
    South 08 degrees 40 minutes 08 seconds East, a distance of 504.80 feet
    to a set steel pin at the beginning of a curve;
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    Abstract 156, et a1




    southeasterly, 722.25 feet along a curve to the right having a radius
    of 2789,93 feet and a chord of South 01 de9ree 15 minutes 08 seconds
    East, a distance of 720.27 feet to a set steel pin at the end of said
    curve;
    South 06 degrees 09 minutes 52 seconds West, a distance of 2316.98 feet
    to a set steel pin at the beginning of a curve;
    Southeasterly, 692.67 feet along a curve to the left having a radius of
    2939.93 feet and a chord of South 00 degrees 35 minutes 08 seconds East,
    a distance of 691.10 feet to a set steel pin at the end of said curve;
    south 07 degrees 20 minutes 08 seconds East, a distance of 1842.51 feet
    to a set steel pin at the beginning of a curve;
    Southeasterly, 689.79 feet along a curve to the right having a radius
    of 2789.93 feet and a chord of South 00 degrees 15 minutes 08 seconds
    East, a distance of 688.07 feet to a set steel pin at the end of said
    curve:
    South 06 degrees 49 minutes 52 seconds West, a distance of 283.34 feet
to a set steel pin at a fence corner at the Southeast corner of said
Yarbrough tract;

THENCE North 87 degrees 39 minutes 26 seconds West, with the South line
of said tract, a distance of 5384.51 feet to a set steel pin on the
Northeastern line of said F.M. Road 1202;

THENCE North 25 degrees 30 minutes 43 seconds West1 with said Northeastern
line, crossing an access easement roadway, and continuing a total distance
of 80.97 feet to a set steel pin near a power pole;

THENCE South 64 degrees 22 minutes 17 seconds West, with the Northwestern
line of said F.M. Road 1202, a distance of 19.91 feet to the point of
beginning containing 2022.20 acres of land.
                                                                      1586()..5
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/ FIELD NOTES TO 29,71 ACRES IN THE JACOB SPEARS SURVEY ABSTRACT 915,
  ET AL, COOKE COUNTY, TEXAS

 All that certain tract or parcel of land situated in the V.A. Howeth
 survey Abstract 1631, and the Jacob spears Survey Abstract 915, Cooke
 County, Texas, being all of a called 30 acre tract described in a deed
 from A. M. Burch to Gainesville Gun & Rod Club recorded in Volume 82,
 page 131 of the Cooke County Deed Records, and being more particularly
 described as follows:

 BEGINNING at a set steel pin in a found pile of stone at the South corner
 of said 30 acre tract, said corner being located North 87 degrees
 39 minutes 26 seconds West a distance of 1715.30 feet and North 02 degrees
 20 minutes 34 seconds East a distance of 6.92 feet from the Southeast
 corner of a tract described in a deed to Frances Yarbrough recorded in
 Volume 325, page 110 of said Deed Records;

 THENCE North 18 degrees 01 minute 19 seconds West, near a fence, a
 distance of 773.25 feet to a set steel pin in a found pile of stone at the
 Northwest corner o·f said 30 acre tract;

 THENCE North 73 degrees 43 minutes 59 seconds East, near a ~ence partway,
 a· distance of 1866.33 feet to a set steel pin in a found pile of stone at
 the Northeast corner of said 30 acre tract;

 THENCE South 13 degrees 57 minutes 34 seconds East, along and near a
 fence, a distance of 437.53 feet to a set steel pin at the Easternmost
 Southeast corner of said 30 acre tract;
 THENCE south 25 degrees 51 minutes 21 seconds West, a distance of
 313.39 feet to a set steel pin at the Southernmost Southeast corner
 of said 30 acre tract;
 THENCE South 70 degrees 04 minutes 27 seconds West, with the South line
 of said 30 acre tract, a distance of 1618.14 feet to the point of
 beginning containing 29.71 acres of land.

 GAINESVILLE GUN & ROD CLUB
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LESS AND EXCEPT TBE FOLLOWING TRACT:

FIELD NOTES TO 11.41 ACRES IN THE B.B.B. & C.R.R. CO. SURVEY ABSTRACT 156,
ET AL, COOKE COUNTY, TEXAS
All that certain tract or parcel of land situated in the B.E.B. & C.R;R. Co.
survey Abstract 156 and the J. P. Havins Survey Abstract 455, Cooke County,
Texas, being all of a tract described as Water Well Site No. 2 in a deed from
The United States of America to the City of Gainesville recorded in Volume 366,
page 625 of the Cooke County Deed Records, and all of a tract conveyed by
Parker Yarbrough, et al to City of Gainesville by deed recorded in Volume lOB~,
page 331 of the Cooke County Official Public Records and being more
particularly described as follows:
BEGINNING at a found steel pin at the Northwest corner of said Water Well Site
No. 2, said beginning corner further being located North 00 degrees 06 minutes
46 seconds West, a distance of 770.21 feet and North 89 degrees 53 minutes
14 seconds East, a distance of 141,14 feet from the Southwest corner of a tract
described in a deed to Frances Yarbrough recorded in Volume 371, page 3 of said
Deed Records;
THENCE North 64 degrees 30 minutes 33 seconds East, with the North line of said
Water Well Site No. 2, a distance of 77.28 feet to a found steel pin at a West
corner of said Yarbrough to City of Gainesville tract;
THENCE North 25 degrees 27 minutes 13 seconds East, a distance of 454.63 feet
to a found steel pin at the Northernmost Northwest corner of said Yarbrough
to City of Gainesville tract;

THENCE North 69 degrees 31 minutes 59 seconds East, a distance of 478.58 feet
to a found steel pin at the Northeast corner of said Yarbrough to City. of
Gainesville tract;

THENCE South 20 degrees 21 minutes 59 seconds East, a distance of 654.74 feet
to a found steel pin ,at the Southeast corner of said Yarbrough to City of
Gainesville tract;
THENCE South 69 degrees 37 minutes 25 seconds West, a distance of 673.56 feet
to a fence corner at the Southernmost Southwest corner of said Yarbrough to
City of Gainesville tract, common to the Southeast corner of said Wate~ Well
site No. 2;
THENCE South 64 degrees 39 minutes 26 seconds West, with the South line of said
water Well Site No. 2 1 a ,distance of 178.90 feet to a found steel pin at the
Southwe-st corner of said water Well Site.No. 2;
THENCE North 25 degrees 26 minutes 27 seconds West, a distance of 347.14 feet
to the point of beginning containing 11.41 acres of land.

CITY OF GAINESVILLE WATER WELL SITE NO. 2
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                                      Exhibit "A"
Tract Two:

FIELD NOTES TO 133.77 ACRES OF ACCRETED LAND IN COOKE COUNTY, TEXAS

All that certain tract or parcel of land situated in cooke County, Texas
being accreted land lying between the patented land of the J.G. Jones Survey
Abstract 1206 and the A. Elston Survey Abstract 351 and the present Gradient
Boundary of the Red River as surveyed by Nedra Foster, LSLS on February 2018
and being more particularly described as follows:

BEGINNING at a set capped steel pin at the Northwest corner of the said
Jones Survey, common to the Northeast corner of the J. N. Wright survey
Abstract 1535, on the South line of the T. Booker survey Abstract 72, at
the Northernmost Northeast corner of a 1S46 acre tract of land conveyed by
Laura Josephine Jones to Frances Yarbrough by deed recorded in Volume 325,
page 110 of the Cooke County Deed Records;

THENCE South 89 degrees 24 minutes 42 seconds East, with the projected North
line of said Booker survey, a distance of 1482.97 feet to a corner on the said
Gradient Boundary on the Red River as surveyed by Nedra Foster~ LSLS on
February, 2018;

THENCE Southeasterly,   aLong said gradient boundary, the following courses
and distances:
     South 53 degrees   58 minutes 21 seconds East for a distance of 91.40 feet
to a corner;
     South 45 degrees   17 minutes 03 seconds East for a distance of 427.80 feet
to a corner;
     south 60 degrees   28 minutes 15 seconds East for a distance of 69i.B7 feet
to a corner;
     South 27 degrees   10 minutes 46 seconds East for a distance of 834.10 feet
to a corner;
     South 27 degrees   24 minutes 53 seconds East for a distance of 784.05 feet
to a corner;
     south 42 degrees   03 minutes 52 seconds East for a distance of 110.45 feet
to a corner;
     South 24 degrees   14 minutes 12 seconds East for a distance of 297.20 feet
to a corner;
     South 18 degrees   40 minutes 36 seconds East for a distance of 299.79 feet
to a corner;
     South 11 degrees   16 minutes 26 seconds East for a distance of 312.02 feet
to a corner;
     south 00 degrees   25 minutes 20 seconds West for a distance of 407.01 feet
to a corner;
     South 66 degrees   22 minutes 14 seconds West for a distance of 52.39 feet
to a corner;
     North 89 degrees   32 minutes 43 seconds West for a distance of 126.00 feet
to a corner;
     North 24 degrees   20 minutes 28 seconds West for a distance of 46.10 feet
to a corner;
     South 60 degrees   48 minutes 09 seconds West for a distance of 38.95 feet
to a corner;
     South 45 degrees   59 minutes 16 seconds West for a distance of 82.04 feet
to a corner;
     South 31 degrees   17 minutes 35 seconds West for a distance of 59.68 feet
to a corner;
     south 06 degrees   34 minutes 55 seconds East for a distance of 52.35 feet
to a corner;
     South 63 degrees   26 minutes 06 seconds East for a distance of 35.78 feet
to a corner;
     South 04 degrees   14 minutes 11 seconds West for a distance of 27.07 feet
to a corner;
     south 57 degrees   22 minutes 51 seconds West for a distance of 29.68 feet
to a corner;
     south 05 degrees   11 minutes 40 seconds East for a distance of 22.09 feet
to a corner;
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Accreted land                                                  pg. 2 of 2

  South 48 degrees 27 minutes 24 seconds East for a distance of 105.55 feet to a
 corner;
      South 35 degrees 45 minutes 14 seconds West for a distance of 30.81 feet
 to a corner;
      South 06 degrees 06 minutes 56 seconds East for a distance of 84.48 feet
 to a corner;
      South 36 degrees 15 minutes 14 seconds East for a distance of 37.20 feet
 to a corner;
      South 72 degrees 15 minutes 19 seconds East for a distance of 78.75 feet
 to a corner;
      South 33 degrees 06 minutes 41 seconds West for a distance of 82.38 feet
 to a corner;
      South 15 degrees 31 minutes 27 seconds East for a distance of 37.36 feet
 to a corner;
      South 40 degrees 14 minutes 11 seconds East for a distance of 85.15 feet
to a corner;
      South 55 degrees 54 minutes 18 seconds East for a distance of 78.qg feet
 to a corner;
      South 24 degrees 23 minutes 58 seconds East for a distance of 106.51 feet
 to a corner;
      south 62 degrees 48 minutes 07 seconds East for a distance of 80.95 feet
to a corner;
      South 10 degrees 22 minutes 33 seconds East for a distance of 72.18 feet
to a corner;
      South 45 degrees 00 minutes 00 seconds East for a distance of 43.84 feet
to a corner;
      South 39 degrees 24 minutes 02 seconds East for a distance of 72.47 feet
to a corner;
      South 63 degrees 01 minutes 11 seconds East for a distance of 61.72 feet
to a corner;
      South 51 degrees 06 minutes 56 seconds East for a distance of 39.82 feet
to a corner;
      South 21 degrees 57 minutes 38 seconds East for a distance of 66.85 feet
to a corner;
      South 16 degrees 19 minutes 37 seconds East for a distance of 206.32 feet
to a corner;
      South 12 degrees 01 minutes 50 seconds East for a distance of 62.37 feet
to a corner;
      South 65 degrees 46 minutes 20 seconds West for a distance of 21.93 feet
to a corner on the Northeast line of the A. Elston Survey Abstract 351, common
to the Northeast line of said Jones to Yarbrough tract:
      Northwesterly, with the Northeasterly line of said Elston Survey and the
J. G. Jones survey Abstract 1206 as patented the following courses and
distances:
      North 42 degrees 55 minutes 30 seconds West for a distance of 310.24 feet
to a corner;
      North 39 degrees 00 minutes 39 seconds West for a distance of BB9.95 feet
to a corner;
      North 38 degrees 45 minutes 04 seconds West for a distance of 193.10 feet
to a corner;
      North 36 degrees 32 minutes 15 seconds West for a distance of 340.94 feet
to a corner;
      North 39 degrees 56 minutes 49 seconds West for a distance of 698.65 feet
to a corner;
      North 41 degrees 25 minutes 24 seconds West for a distance of'l093.85 feet
to a corner;
      North 34 degrees 06 minutes 03 seconds West for a distance of 700.18 feet
to a corner;
      North 43 degrees 47 minutes 51 seconds West for a distance of 1191.31 feet
to a corner;
      North 22 degrees 36 minutes 13 seconds West for a distance of 265.49 feet
to a corner;
      North 33 degrees 01 minute 58 seconds West for a distance of 250.53 feet
to a corner;
      North 25 degrees 43 minutes 04 seconds West for a distance of 172.40 feet
to a corner;
      North 34 degrees 41 minutes 44 seconds West for a distance of 151.47 feet
to the point of beginning and containing 133.77 acres of land.
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·,,   "

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                                                    MfflJNGLIAfE
                THIS MINING LEASE (this "Leasej is executed as of June 3, 2011, by and among
           OKLAHOMA CHRISTIAN UNIVERSITY. NORTH CENTRAL TEXAS COLLEGE, UNITED
           WAY OF COOKE COUNTY and THE FROST NATIONAL BANK,. as Co-TIU6tecs of the LEO
           and MABEL SCO'IT CHARITABLE TRUST ("Lessor"), and CHARLES N. DAVIS. ill.
           ("Lessee").

                                                       RECITALS:
                  A.     Lessor is the owner of certain real property in Love County, Oklahoma, which is
           described in EXhibit A to this Lease (the "Leased Premises,').

                 B.    Lt$sor desires to lease to Lessee~ and Lessee desk~ to l~e fun:tl. L~or~ the
           Leased Premis~ for certain mining and rela~d pllq)OSCS, as more particuiarly ~ forth in this
           Lease.

                 ACCORDINGLY, for good and valuable consideratio~ the receipt and sufficiency of
          which are hereby acknowledged, Lessor and Lessee agree as follows:

                   L     Lease. Lessor hereby leases and demises to Lessee, and Lessee hereby leases and
           lets from Lessor, the Leased Premises, subject to all liens, e.mtem~ and other encumbrances of
          record. affect.ing tlle· I.e~ P.teiniSes. for the ekcmslve. rlght to prospect, ~~~~; 1;® Mi~i
          proc~~ produ~ store, rem.qv.e· .and. sell th~tn5 rul triine.mts· and co:Qstm®~n '~~~
          includWg. sand, so~ ~er and· limestone,. ···'but excluding oil and/or ·~· said.· minetalS and.
          construmon rna.ter;ials bcingheteiil   co~vely tef.erred'to    collectively as tile ''}Aaterials,n aP,d
          the right of ingress and egress for such purposes. AB part of such. prospectitig, mining and
          production, Lessee sball have the follOWing rights, so long as they ar~ exercised in, aeoo:rdance
          with the provisions of this Lease: ·       ·

                            (a)    The right to remove, process, store, transport, market, sell and.o'thelwise
                    deal with the Materials.

                          (b)    ·The right to enter the Property t\t: the gate from old highway 77 thatjofus
                    highway 1~35 and the oon~xcltt.SiVe tight to use existing roadway~ (}fl}s$lg the Prop~
                    between such gate and the Leased Premises for purp()ses of ingress and egress to and
                    from the Leased Premises and. tmnsportation of Materials from the Leased Premises.

                          (c)    The right to deposit on the swface of .Leased Premises such Materials as
                    may be produced from Lessee's operations under this Lease.

                           (d)The right to plaGe on the Property macbittery, ~uip~ent Stiuc1.llresand
                othet improvement$ n(X)essacy fbr the nii~ .and: selli»g of Materials uiine~ ~geth~r
                with waterJine$ and othed.nstalhitions as more sp®ifically set forth fu. Section 6 hereof.

                2.     Tenn. The term of this Lease shall be five (5) years (the "Primary Term''),
          COIQmenCIDg on the iliite.hemof'and eXph'.ing Oii the fifth($$')· mmive~m:y of~ q:iteh~f;@d
          eoritinuing thereafter tot so Io~ as Materials are~~ and removed ftom the-I~tased Promises



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                                                     c
                                                      EXHIBIT
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 in Commetebd Qunritities (as heteina.ft4r dofhlfl4)~ ~~·sOoner te~inatt(if in a~rdan~ w.i.th
 the tei:nls of this Lease. The l2 month ~od @-wm~cing on the ~o~ncexrt\mt dj.ttJ;; pf fh4;
 L~se, and each 12 month perlQd '*'fbtn~~~drv.·~n :mmiversury :Of lh~ date hottQf, 1s tefen-cd to
 het~in as a uLe• Y~~n For:pl.lrpQ~ 'ht'-tni~'$~tiQ~ :2, tb.~ tottn 4~Co!llllJ.crolnl ~antities"
 shaU mean•m.ining ami remaval 9f not less~ One Hundred 'l'h()usand. (lOQ~OM) Tons. of
 Materials during each Lease Year.                                           ·

        3.     Royaltie§•

             . (a)     Advf!!la R~al!ie6~ .Lessee. has contemporan®~Y With tbe . ex~"'ltion
        and deUv.e,ty Qf~ft;eas#,/~4 tO'·~~ the smn ofTwo tho:ummd Pollai-$ ($4;000) as
        advapee roy~ty (''the Initial A4v8ll~ .R0yalty"). ~ agtees >to pay· to L~ssqr~ as
        advance rQyatty~ oil the d~~ffo,rthbelow the following Advance R'oyalt:ies:
        Anniversary Date
        Execution
        JWie 3, 2012 or sooner upon
        obtai.ning all required mining
        permits
        June3,2013                           $30,000.00
        June 3, 2014                         $40,000.00
        June 3,2015                          $50,000.00
        June 3. 2016                         $60.000.00

       Each of sooh payments' -b~}ng     -~~ ejdl~        an ~~dvanpe :J«jyalty P.aymen~;, su~~­
       Advan~e RoyaltY 'l:laY*ieiltsand. t:lw lnititJ.tAH.vanc:e R'Qyalty be~ng herein ooll~tiVe1y
       oaRed ~~Advance R<11.alties"~ ~· :riiay 4~11m. frot;n tl1y Advance Royalties pil.ya.ble
       under this paragmpb .'tb¢ mnowt' of all T«?nn~e Royal'ti~ (as her~~n~t\~r 4e~~d)
       thetefufote .aCtually paid tQ. 'te$SQr w.ffi~h have not previ<;>usly beetl deducted .from
       Advaru;l,'; Royalfi~.                           ·       ··
              {b)      .TonnageRo:ySltigs.
                     (i)     Lessee will pay t9 P;$56r, on or before 1he.tw~ieffi ~<nl?:);~Y Qf
              each yalendar- month; a royaliy equ.Eitlo the ~ter, of (i) SiXty Five·:Cents: ($0.65)
                                         herem
              per Ton.(a "T.o.n7' a8 use<l.     b¢.~g ~106f>:po~ds) or {il)Twelve ~d On.l}"l;alf
              Percent (14.50.4) of tlle Ave.mge Local Sal~ Prld¢ (as ~¢reinafter deffue4) ~n all
              Materials (except Flumo Sand and Select Fill) tnined and removed from the
              Leased·.Premises during the preceding calendar mont:q (eaoh·sq~ parment be~
              herein called a ~vronnag~ Royalty F~YJJlent/, such Toilllage 'Ro-yaltY l:~ym~ntS
              beitig herein oollectiv.ely called '"TQiiliage Ro;yalues'~). .~ssee may de.duct from
              the tonnage Royalties payable 'tln4~tdbis P~P.h the atnountofallAdvance
              RoyaltieS' theretufu~ ·actPallY paid to ~sor wbl()h have t1~t ptevio~ly been
              deducted from T9nnage R-oyalties.                                   ·


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                                  (ii)   Lessee will p.ay 'tO ~r, -on or:before~ lh~.nventicrth ·{:l'Oth) d.~'y<of
                         each   oolendat month, a royalty :~t~l to 1;h~ .m;~~ of (i) "fwentY Five ~l'ltS
                        {$0,25) por Ton or (ii) 1We1ve mid e>ne-Halt P~f$t (i2.S%) of the Avemga
                        Lo~ Salts Ptlee on all IilUine $and and Select Fill (as Mreinnfter dtifined) mined
                        and removed from the Leased Pr$nises during the preceding calendar roonth
                        (eat;h such pa~ being herein called n ·"ToJlli&,ge Reyaliy Payrn~t~" ~h
                        Tonnage . Royalty Paymmts being her~ oollecti:Vety. oalled "To.nn~g_e
                        RoyaltieS"). Lessee may deiluet bom.the Tnnnagc Royalt;i~ pa.ytjl.,lle under tnls
                        paragraph the amount of aU Advance Roy~~es fheietQ:fure.actmlUy paid to Lessor
                        whiCh hav.,nQt. previously been deducted from Tonnage Royliffi~~
                                 (iii)   The tenn "Av~ J.4;>ca! sat~ ·Price'' sh~il mean Ute            :Price. ~t
                        which Materials of comparable 'type and quality arc putchased.~d 301~ :bttw~
                        unrelated parties in the same geci~hic ·~~~·.as: ttw· ~ Pr~m.is~s tbr de~
                        into the Dallas/Fort Worth area.. The ~ '*Flume· Sand') ~d "~l®t Fill" sh~ll
                        mean materials from either a pit $·or ~r p.J:o~g Wlth _a minim~ of fifty
                        percent (50%) of these materials passing through a# 50 sieve.

                        (c)     J!u?opssing ~yalties. IfLessee shall constroct a plant for the processing
                ofMatexf~$ QJ}~~fteasett: Pt~i~'$S ;mined Qn ~.propertjr other tban the Leased P:reoiis~.
                LeSS.e.e. ~b~U -p~ i9· ;~~: mon,_n]y Pro~ l:Wyalties .egrial to SiO.l.JS prn' ton .c)f
                Mattrfi~l~ proeessed on and sold ft~m.·tbe Leased ·Pr~s. S~cP. paym~t sh~l be mflde
                together With payments of Tonnage Roymties.
        All payments r~ulred . unde.r this Section 3 ate herein: called (~.ltoy~~e5~~ .AU Royalties o'Wing
        hereunder shall be paid to Lessor at the address sh&Vin at the ~ginning ottliis :IA1AAet Qi W. ~ph
        different address as Lessor shall have designate.d by written.-Uqtlce s~t in accotdunee with lhc
        notit~e provisiom ofthis Lease~ Ifany Roym~·~ 11otpaid in full by the time· 4esjgluil.edJn,:tbJ$
        Section 3~ SQch ~t due ~altits sbaJl beat interest ~t,·th~ J:!\te eqqal to tile 1esrer of:'filghteen
        percent (lS%) per mmum or the highest tate allowed by law fut the period begin.ning on the due
        dtrte. of such :R_oyalties and ending on the elate. such Royalties are actually paid to l:.eaSQr.

                4.     Mateti@i Removal .R.qmids. Lessee ~ to maili.tain 'at its bu$i4ess Qffttesj at
        all times, writte9. ~otds 6f the amount and type Qf !1ateri~, Flume San,.d aA~ Select Fi11:
        removed ~om Leases Premises and shall hav~ a ~cnrd specifYing the il¢.oll$ and type ,of
        ~iiatjf Fl-;:tJID)·d,·mtCt,~e~ l}.jll ~Q'V~ t}ie driVer, ·the scrue ti¢ke~ the d:ht* .qf ~li)~g
        of Material, Ylqoi~: g~, iuld Scbn Fill remov6.d from the t~ P-remises, mc1'udlng.. a dally
        ~P sheet and suoh.:teeOrd shall- be aV;a,U~ble J~r review by Lessor: ot ~~o.r,'~ ag~is. il~g
        oonnal b.u~es~ bo~ fot the p'Utpose of verifying such amountS. I,essee tdlall also ·p:~aiJJ.~
        records adeqUate for Lessor to d~t:ertnfue the Average Local Sales Price:for @ M~al. Flume
        Sand ~d Select Fill fur each month during tlu:rle'ml ofthis L:eas_e.. LeSsor shall have the rlght-a.t
        all times to enter on and to inspect all epi!;t8!ions d~g normnl ~usiness hours. D~tpni#ing
        or processmg o_p~ons~ Lessor: wilt'bc ac-oompani¢<1 by Lesse,e1s repr~entatives. In adf.U.tion,
        Lessee shall furnish Lessor a e()py of -web reCQI'ds tuon.g With each monthly payment .for
        Material.




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                      s. Mitimg .nevefupme~t.:Plan. ~-~;~~fiU,wndttct its ~g·(lpr!f!it~~ qu:tne
                                                                               w
             L~e& l?~lllises .in~~&ooill~hQ«fwHll q~g plan ~p~ved. writing by Lessor, ·su¢h' ~pprpy!if
             notot~·tJ.e,~o!ll~iy V{l~etd. Such. minil)g plan '~Half (i) desuribc thri" method$ arut timing of
             mtentl~~ trimhtg, ·(ii) indi~ate·th.e~gre<lS of the leased Premises in W}tltl) inining aotivhias-are to
             ~e ctml:tnnted, (iii) ~hoW tll~·~tion in which mhrln.g ~"to pru~s) (iv) contain a pb:tL~~iting
             tbdh-~ prop·c;~ pi:mt locatia~ (~) wntain a plat of the ~ fo ·& mined and (Qgs. of mi¢ng·
            -operations, (Vi) ~~QcW. ijiJ J?,~~st4   roads     and road, locaUQtlS and (vii)· show the ']oeation of
             cO.tnmen~ment·o:rmiJling.and:~ P1"9~ion of~nining:op~ti'QI)s. The mining pl~ $all limit
             mining to areas wmeb co~ply with any -and all bbun:daty settmc.k: req!lifemonts of nppli~le
             local, .st)l~ or federal Jaw. Lessee sb'~ provide w Ussor a copy of: all ~at~uon niateria1s .
            ·produ~4· or obiaincq .~ p~t of its review and c:valuation of the property, including, b:dt not
             limited-to, all cortrsampJe'S andfetWlbiUtr studles.
                       6.     Less~ Rights. Lessee shaD. have the right of ingross and egress ~tall ti:rne.c.; across
             the Leased Premises as set furth in paragraph (b) of Section 1 hereof and Lessee may ~nstrupt a
             roadway across the Leased PremiSes at no ~~to the Lessor; as wen ~ ruadways on. tach
             UI1it ,of the Leased Ptcmises being developed, and Less.~ ID1lY use sand and gravel mined from
             the Leased Premis~ ~'the ~flstrurnion of the roads, at ll() e~pepse to ~see. It is agreed that
             fillY iftipftl,v¢fuen!B ()n th~4·oads S.ball. remain the property of the L&;~t on the termination of this
             L~~~ whether, such ~pwve~~ts. ~ ma<le permanent or temp()!WY• I.,es~-mtlY ·:place on the
             propeyty ;tUiJ und all nia~runety;- equipment, $~, and (:)tijut. 'UD.proveme.nf$ ,wlJi~b wifJ fle,
    ,,.__    n~~~a:ry• or oonV.enicmt; for ~e ~~·of mining and. selling of Muteriat min~ frOm :the t;ease,d
            .PremiSes, piQVideq til~' it 1s working or J,n. :working condition .or WUI be u~~ in ·m.fpibg
             ~p~mtions. Salvage ~pm~ shUllbe removed from the Leaae4 Premises. l..es~¢¢ m~y~a1s0
             Jay:.aJ.f nrwe~spcy Wafrl.t l#}e'S ~d construet power ]jnes for pumping OI plant operations and do all
            Q.tbet:tfiitigs:reasonablQaQd n~ on the Leased Premises to mine the Materials. In addllio~
            Lesse_e may build dmi,i.S t(? ~P9.'9n.4 water necessazy for the proper washing of the Materials and
            m,uy. q.ig ehanneJs to secure ~g~ fr.om tl)'e Leased Pxem.ises. It is ft1rtber agreed thabdl such
            machinecy1 eqW,pment;; str:uptureii) 'and other eqillpm~nt placed on the Leased Premises eXcept
            1h<;ise pl~ceil fu the manway,,·wa~rw;:tys1 a)]d eleciri~ Iihes shall rem~ p~ pft)perty and
            $bail n:ot be -con8ide~~ l\'Par!- 91-~he: realty, as by attaclun,ent tO tli~ soil, antl-,suoh ·roaehfuecy~
            eq_uipmeut structures, and <>ther improvet:Qe$ maybe ietn<>vc:d t'lpo-n. the expit;BtJgn ofQ.urT~t¢
            hereo~ provided that the Lessee is n()t ln default in ~Y of the payments ·ot other ¢<>venants,
            provided herein.                                              ·

                   7.      NotriEx.GiusiveUas~ Ids unde~Qd -~ ~eed~at tlle -Les~ is nobecciv.i.ng
                does it receive by this document i1tl excl~we lease of ~tht::~ ~~ Pierilises, but Less~'s
            .Q.OI
            lease and rights of~ pf 1}ie te~ed ~~, ~· limited to the' !Jlinjng ()J;' Materials Qtl the
            Leased Premises as provided in Semion 1) ~d eleclusively fio.i:p the l;~e,d.J?remi.s.~ J~erem
            described. All uses <d'the ~- P~es nofbeing mined for Materials as· hete!n req~ed,. are
            hereby reserved to L:0ss.or ~ graze livestock or for other t$e w:pich does not inttdere with
            Lessee's use as herein gmnted.     ·

                   8.       Scales. Lessee ·agre~• t9 install. ~d ~tail.l ()tithe ,teased P:temi~g at itifnWn.
            cost and ~Xpen$¢,., so long a&~-~c i$·jp. ~~ aioortffiedntQfot.'~~t;whicb will be
            usedfottheptttpose of~illg~;~acoo:tmiot~:M~~li:Un~&~'rcmov¢(1 from the
            Leased:P~~E;~ the scatewru.·tt~all~ for~y at 8J)propri~.perl~¢intertals.
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         .         9.         ,Qogks pd lbmmds. l'llro~nt·ibe t~,dt'·tbi$ L~¢J ~~7'sba1l furnish tb
        L~s~ on or before the. 20th oay Qf each pa.l~~adnoiil.hi·fdllewing·any calctidar,m®Jb·in ~h.
        Mateti~ were tEinlQved frOOt. :th¢· Lt~ed Premise.~,.a ®mplet.e and a~~t~ ~sta~i;Jlt :~hc;wlng
        the number of funs Blld ··types of Materials mined and reinoved from th" '~cd Prem.lse$ by
         Lessee. during the p.wceding oaiendat month. Within 90 days a-tter the end Qf eaeh Lease Year,
         Lessee's Chief financial officer ~llWl c~ to IMsor the number of tons and types of Materials
         mined ,tiij;d. removed ~m ·the· Le$ed Premises by Les~ during th~ p~g LeaSe. Y~.
         Ussot ijl~y~ ~t all fea$6nable times dUring busin~ h9urs an,d at Lesseeis premises; audit &e
         b()q~ ·maps an4:re<»rds- of·Lessee ~on,aQ!y neceSsm)r. to aoourately determin~Jor ~y period,
         the t0~¢8 .QfM~ nillled and -removed from the Leased J>.rerili$es~ AddiUonru1y, ~$Qt
         mi:t'y, :ftO.m time to.time, ml,\ke,()robtain topo~hkal surveys, mo.p~, site J)llot(}graph~·mid vl(;teo
         t~ ·$i~dlor,_ ~rl@J J:W!?tegl,llphs and video tap~ of the Leased ~tcrnis¢s ·t~ ass.ist in the
        cal~~tion .of tonna~es of Materiab mined and removed &oxn tlie 1..¢~~ ,Premises (an~ ~~()i'
        tnay. !i>hWn ~~~~ ¥> tbe 1..¢~ Pt.emises at all ~es reasonal,lly necessaey ·to ~alce-llr obtain
        s~4 ~bY~ J$PS; photogtaphs ancJ/01' video tap~). If any such audi~ 8\lr:vey. mapt ph9tograph
        ur vide.o tape (ij~cl,oses :infr:,rmt¢ion ·showing th~ Royalties are ow~d to Lc#~r 'Q~~er lhi~· tease
       ·whiCh. L~~-~ failed to pay~ ~e shall inmlediately pay ~eli Royalties ~r- otlieJI p~ym~ts
        to Lessor together with interest thereon at the rate provided in Section 3 hereof ctimmencing on
        the date the Royalties or other payments should have been paid to Le:i~sor under this Lease.
                10.     Taxes. LeSsor shalt pay prior to deHnq~ency aiJ ta.xes assessed against tl:ie Lea3ed
        Premises. Within 15 days after delivezy by Lessor ro Lessee of a~ ~· a~Jd evidence of
        payment by Lessor of the taxes set furth th~ Le~ ~hall reimb~e:;I;eS~or fot.Bighly..Seyen
       and Five-.Tenths Percent (87.5%) of ail ~e&, paid th.t:\'t are ~butabl~. tq any inetease .In the
       valuation.ofthe.Leltsed .Pi:¢niises subsequent to.~ ~ec.l;itkm oftbis.Lea$~• it being ~-that
       such reimbUrsement represents an.equi:table 8Il~Qation of tax responsibility between Lessor and
       Lessee~ Les13~may ~ntestany·mx assestte(l a$~-~ ~~eo:~ ot any valuation of the
        . . P,remises "'·-.
       LeaSed                     '<>vemnlental"'...,"'orlfu
                          vY ~-· g_.  . . .. , ..... ~c:u. ~J ;tor mx:-nfi!'I)(!)Ses-.
                                                                            .. Y~r            . . . . 'WiJives·'ID:l>U
                                                                                      . . . ·.~ee            . ,.                 .tsU it ilmY
                                                                                                                         . ·J ·n"'l>t.
       h!W~, at l'li.W or ollienvlse,          w
                                               ·cQn~ ·~ ·tr,oc u5s~~ ~nst the ·~ ~~is~ <lr artY
       valuation of the .'LOOBOO                      <?. tax_···
                                        ·. · ""t(e~· ~·r
                            . . . . :p·J1:pll              . _ pmpos            . . . .shall
                                                                  ·.. · ·es. Lessee         .. P-.a'.IY 'p;'inr:
                                                                                                               .. . to
                                                                                                                     .-. :Jlellftn'i1M_-   -· ._ aD
                                                                                                                                       .. IW.
                                                                                                                          . . .~"":":'~.,-
       t:axes f!Ssessed upon or levied against all vehicles, eqUipment,: machinery Qr, other property of
       Lessee installed or placed in, on, and/or under the surface of the Leased Premises..

                 11.       .Applicable ~. Lessee shall bondiict its opernti~ on !he Leased Premises in
       aceordanoe with all applicable ·meal, state ·and f~epil or!linances,. .laws" orders, rules and
       regulations. WithOut limiting th~ gen,eiality of the forego~ Lessee agrees a3 follows:
                       (a)    Lessee shall secure· all permits reqtUted from govetimi~ta,l al,ltb,QJ:itje~ to
                 conduct operationspemntted~dei"this Lease, and $l.tall FO:'\Iiae to LeSsor c:opies ofs~h
                 pennit.'l.

                           (h) TQ ·the eXt~t ~e usus.e~ptb'siyes in'Jt$ 9perati()t'l~ \ittd(;lr-tbis L~~,
                L,esse~ sha]j stol'e, ·~sp!lrt, $~1ll'e anti 'Us-~· the ~ploSives in. ·accotdan~ With all
                ~ppli<mbie r~mrlml:.~nts ih1po~ l?Y. the ~ed~~t ·Jiilreau Of ..Aic:ofiijJ,_ Topac~ ~9
                F{{~_and:hliy .other applica'ble govemnien$1 authority, Lessee sball obtain Lessor's
                pr!Qr written ~pproval of· Lessee's plan .for storage Of any txplosives ·on the LeaSed
                Premises.                       ·    ··                           ·


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                                     (c)    J..esseo shall· limit mJ.nmg. to lii'atm. of lhe Le.ased ~Jsc.q which comply
                              with·Uny and all boundary setback reqUitementa.h:nposed by appllcable law•
                                    .(9)   In additiOn to the :reqmretriontS of Seetiop. 9, .·~ sl\a'i1 perform uny
                              reclamanon of the l.eased Ptomis<$.'requir¢ by·app1icablclaw witb. n:sp~ to L8sse6fs
                              operations.                                             ·
                            12.  No Wilrmit(Y. LESSOR ~. NO WARRANTf, :~SS OR
                      IMPLIED, AS TO THE NATIJRE, QU.Ai.ITY Olt. QUAN'TITY OF THE MA~$.·
                      LESSEE ACKNOWLEDGES THAT IT HAS BEEN GIVEN FULL ACCESS TO THE
                      LEASED PltEMJSES AND HAS MADE EXAMINATIONS AND CONDUCTJia) TESTS
                      TU.EtmON TO SATISFY ITSELF AS TO ·TBE·NATURE, QUALITY AND QUANTITY
                      OF THE MA'J!ERJALS.

                        .     13.·  Reolamationof$Urface. Lessee shallleve.laltareaa. mh:ted "' I.Assee by fitim.gJn
                      pits witlr)V~e;~~rial from '$e immediate area iindre:tn:ovmg an large roqkfrqm th.~ surface of
                      the. ground and filling of valleys         a ~ner thatt}le area. dan be traversed with farm
                                                           i~ ~ueh
                     rnacm~~ry. All·Jia,ges an!! peaks of)and axid ~o~ piles of:Mattmals or waste products stored on
                     tllel:¢as~ Pre!nises shall, b~ graded to a rollit)g~pOgraphy.~ersable.l:>y·~ il¢9~a:cy
                     for .maintetlallQe. All soil di$tt9ed for plant construction         :man
                                                                                         be recillllmed to its onginal
                     condition. Reclatnation will com.tntm.ootwelve {12) months after mining begins•
     ., ..."""""'.

                              14. bue ~ Tbro1lgbolit the Teriii' Lessee .sball Ot)ndqqt its operations in a cl~
                     safe and t~PQllBl.'ble mmmer and in a ~qr that w.ilt maXiinize the miitmg and ShipPing of
                     co.tntneroiallysaleable Mt\tetiam. At all tUnes upon entering <n: lea~lng: the.teased Pretni~es,
                     Le$see·Shall.leave all gates closed and lOcked. Lessee,shall ex.~i~ 4~e ~to ~void damaging
                     any· o.f:Less-orts ~~~, ~r.ovements. •ptrfent::Qr 'P.~e.r prop:et:tY l'®~ted'· oo thc'i,eased.
                     Prem~$'¢8. If l\l1Y ({8fn_ag~sheuld <tccur to any ofLeSsbr~ btli.ldirigs,. improvemen~ Ct'Nipment or
                     other :p~perty as the res:nlt·Qf tile acts· or omissJons:.ofL¢ss®·O't ·it~ agoo~. ~:t ~pl~¢¢8 or, any
                     other p~~~ontor wl;lom t..esseb' is legaJJY,.respenslble• ..Les$ec ~hf4.l ~y. to i..essor:on detnand ib~
                     cost of aQ..Y required repair or replacen).ent.                                 .

                             15.      Indemnitt. Lessee shall defett'd, indetttn.:i'ik·~d h,QlCJ'.~e$S.Lessor.·against all
                     daitnS, sliijg, lQsses" COSts, damages: and. ~pen,$e:~ @l~u~mg reason:able nttor.neys' fees)'88setted
                     against or.~· by ~roi:u'iooountofor,-.arisingftom ~~s ·op~tio~~under this Lease.

                            16.     ,IQ.sntane~ Thr1>\lgbmt~·the 'l'~ Lessee shall:m$~ the following types of
                     insurance in amom:¢s .n6t less than those set forth belOW:
                                     (a)    Workel."..s:~pensation,-insotan~in.an ~oUfi't sufficientm cover full.
                            liability unqer thewo.rket~s wropensation ·J.aWB .of the Staw ofO!<:hthom~ t()getherwith
                            employer's liabilicy insurance in      an   amount not less. tlum· $SOO;.OO.O~ The p()liei~
                            evidenci:Ugthe. insurance :rei,tuh'ed uii(ter this subsection t~ ~lul,lJ not ~ endorsed with.~
                            waiver of subnmatien en.dorsement; :Walving. the car.clet;s right of ~veey un(t(ll!
                            subrogation or otheiwisc from Lessor.




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                  disease or deuth and against claims for injury or destruction of property. Such insurance
                  shall include the following coverages:

                                  (i)     Explosion, ~;ollapse and tm.de.rgr.ound hamtds;

                                  (Ji)   Bbmkct contractual liability, including Lessee's indemnity
                          obligations under this Lease;
                               (iii) Broad form coverage for property damage (extende'li to apply to
                         completed operations);

                                  (iv)    Products and completed operations liability;

                                  (v)     Independent contt®tor~ profec;tive liability to cover Lessee's
                         1iability arising out of open¢ions performed hy independent contractors retained
                         by Lessee; and                                ·

                                 (vi)     Operations and premises liability (including elevator liability).

                 ~~i~     9>f liaJ>iJity in the   commtt:c~ gen:~ lia'f>~ity pql\0] shWl not bb less than
                 $l,0002000 per ocou:rr~n® and -$2,poo,ooo annurtL1;:ggregate fQr t;Qdily injrp;y, and not
                 less tban $500;000 perocourtenee·and $2,000,Qoo ~ ·~g&ti3satefotJ~I'QPenY ~ge.
                      (c)    Antomatic lial>ilitY ~~ eov~ o~~n ()falloWiled., lllred and
                 non~wneq vehicles, man amount ofnotl~ t'llaA $1;000,0.00 oombined singl¢_limit

                        (d)     ~umbrella"• exces~ Uabnityf~~fl~ P+~~@r&~ftntin'ml.~ ~:verage ihr             an
                 risks coVered by the comm~i~ g~ne'rti1 liability ~t,t ®tomq:Qile liabipcy- policies
                 ~ere~ J:tbmr.e in excess of the iris-¢~ l.imitl-affdrded :under such 'p:Qli~ies~ ill an
                 amount of at least $10,000,000.                                      ,

         All pqlicies of insurance roquited by ~ubseclioll$ (b)t (c) mid (d) abnve;shaU name Lesspr ®. an
         additional insured or forms satisfhctory to lessor~ aud shalt C<>ntai.U endorsed provisions
         O~~lg~itsg th~ resp~'ti'Ve ill$umnOe 'OOmpari:i~ t;0 .gtV(HlOl: Jess th1UJ ~~ {i3)7)rWrtttflrt notice to
         Les$ot prlot to the effootive -<h,l~ Qftb'e ~'*U*l~~ir~r change which would negate or dimhdsb
         ®V~ge or limit$ of such poiiei~t ~g~dles$· ofWhether ~uch ~eellat,ion .01" change be mi1!ated
         \>9 ·~e insurance company or on.· ins~t.bms. of the· insured. Before conunenoing ope¢.ions
         Uiider thls Lease and thereafter at 1eas0S'd4Y.S prior to the scheduled expimti()ntifany insurance
         ,policy r~d heretmder, Lessee shmt           furtiish certificates of insumnee satisfactory to Lessor
         :from eaoh ,insurance oom:pany evidciicing th11t Ull insurance required h~illider is in force.
                17.     Default. The followins events shall constitute events of defau1t by Lessee under
         this Lease=

                      (a) ·Lessee shall fall to pay Lessor any Royalties, or any oilier monctacy
                amount owing undey thiS Lease,Within. tti6 time proVided hereunder.




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        ..

                                (b)    Lessee shall fall to mainbiin any in#atteo re{luited Under· S1»tion 16
                         above or to deliver to Lessor qe.rJlficajeS of sUch. instmmce in th:e manner and-within the
                         time required under Seeti.on 16.
                                 (e)     Lessee shall tllil to comply with ~--~ provisfun or eove®nt t:>f this
                         Letl$0, other than the ~provisions           and
                                                                      ~ts oov~by su'bseeijpns (a) -and·. (h)
                         above, and s.ba11 not oure sut:h failure within twetit)r. (2.0) M.ys a:fter delivecy of wdi(•
                         notice thereof to Lessee.

                                {d) -Lessee @ll ~--_a: petition,ryr teli~~:una:r ~ l!nited States Bankruptcy
                         CQde~ as amended. or any~··ether J)~s~t (>r, YJ.mre f~- or $~ :iPs-9-!:Y"~ey, banki:Uptcy
                         ·or similar law (all of~ foregoiJ\lg_ hereina:lb~t\~l.l~v:ely c.fill¢·''~PJ?Iicable Bankruptoy
                         Law?, or an invo1untazy petiti~n fur relief is filed agidnst Le$ce<_'Q.nd~ ~y: applieable
                         Bankruptcy Law -all.4 sue~ ~titian is not dismissed wi~ $i;t:Y (()Q) ~)'~ ~ tite flting
                         tQ~reot or an orderfor.r~lief-namin.g Lessee is entered under any applicable Bankruptcy
                         Law, o:r any eompositiQll,. reammgemen~ exterisio~ reorganization ~r. oth¢r ·relief of
                       debtors now or hereafter exi~_is ~~ or consented to by Lessee.
                                (e)       The leasehold hereunder shall be taken on execution or other process of
                       law in any action against Lessee.

                      18. }!.emedies. If any f;)Verit of defalllt by Lessee sbiill ~~ Lessor sfuill· Iiav~ the
              right aHts electtQt4 iheil of at ~- time thereafter while such event of •fault 'Shall continue, to
              p~ anyone or mot~ ofthe following remedies:

                               (a)    Te~ this ~e by giVing written notice thereof ro Lessee, in which
                      event Lessee shall ittfuu:;di~tely Stttrender. the l,eased ~ to :Lessor and if Lesse~
                      fails to do so, Lessor may, withoutprejudfue to. a)ly other remed)' which it may lm:ve for
                      possession or ar.rearages .in ltoyaltiey &1: other monetitty amo\'mt$ owing to Lessor
                      hereunder; enter upon and take possessi.;m' of the. Leased ~mises tu:id expel or remove
                      Lessee and any otherperoon who may be occ~g.the Leased Premises~
                             (b)    To the extent· permitted by applicable law, obtain nvunctlve relief in (;aS~
                      of the violation, or attempted l,)t threatened Violmio~ of any (lf the covenants,·
                      agreem~, ~diu()~ or · provisions of this Lea.~e, or to a decree· cQ~p~ing
                      performance of any of the covenan~ ~ conditionsorprovisi~ ,oftbi&·~

                      No rlpt or ~dy -~tein              C().,e4 ~~· :Qr ~¢W~· tp, ~'Sor is ~tea~ fu. h~
              e(C~lusiv.e- of any   other fight or :$llleQ.y~ an<L &Jt}h· r:fgbt and l'eJr1edy. sltall b'e c.mmtdative and in
              addftion   w·mzy- ,-ight or remedy given ~u~der o:rm.ow pt=~te~t existfug·atiaw or in equity.
                    19~     S~ tn~. In addition ltlany S~QIY ]iCS$Qr's lien available to tesf)Q-f
             and in cm:l~ to Se<mre payment o( all Royalties and: otlict: -S®s: of money beoomitlg due
             hereunder from Lessee, and to secure payment ofm:ty ~g~ Qr losswhieh LessQ.r 11U.!Y sUffer
             by reason Qf the b.rea6h by ..Les~e.e Qf I!UY cove~ agreement or condition oontained herein.
             Lessee herby gnuits-onto LesSo_r a sectnif;yintet- hi @ll MaterialS, whether in raw or pl'QOO$sed
             form, and all proceeds thereot Upn.n the oc~ c>f an event of default by Lessee~ t:essor
             mayi madditian.to.an.y otiwrreniOOies proVided her·,~~ uwn the Leased PremiseS an41ake

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                                 Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 111 of 160 PageID #: 117
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                                    'pi:YSSI)SSlv-"<      an.d w
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                                                            :. ~ 11 'l.i:.  ..teri,;.t.:.
                                                                    ,l.V,J,<a
                                                                                          lln:,.,L.#, Habtli<~:ti.fOf'tt~.'·'_.'h~C!t!_,
                                                                                  --~-. YYI;U,Jl!lol'" . . ' ,;!f.1. .
                                                                                                                                         or oonversw_·n 1:ruid Lessee_· .
                                                                                                                            ..,..,:I;'~ - -... - -c. •   \     - •..

                                      hereby waives any rl~ to notice or hearhlg pri~r to ·such tal9hg ~f,:p~ss~~sion by Lessor); and
                                     sell the same at pu:b& or: pr.ivatc. ~e, m'th or wl.thout ~~lt:sutih prQperty ~ t,he ~e ~~
                                     giving- u0ss®reasql;lable -n6tiee o.:ftb~~tt:t~dmd pt~e O£any,prib.li9 -~~ or '9fho time after which
                                     any pti"ate srue is tQ be made, (it i,Vrudl the ~$Or Qr it.'i ~<isi~ may pu;cchase•uttless otherWise
                                      prohibited l}y law~ Unless otherwis~ ·pi9'vld¢d__ bY, .law, and witho.~t inmnding t<> ~lud~ ·a:ny
                                     other tnann~r. of givbl~ Lessee reasonable nofiee, d,le, n;qujie,m~nt of reasonable noticie sliatl he
                                     m~ if snch notice is giving in the manner prescribed under the notice provisions of this ~eat
                                     least five days befos:e the day of sale. The proceeds foilll any such dispQsiti()~less'any and all
                                     expense connected with the taking of possessio~ holdingand selling of the property (wcludfug
                                     reasonable· attorneys• f~s and other ex;penscs)~. shall be applied ~ a Q.tedit against the
                                     indyb~dneS8 secured. by ~he> security interested ~t¢d in this section•. Any sm.plus $hall be paid
                                     to Lessee or as otherwise reqllit~ by ·1aw; and Lessee· shall pay any de&iency forthwith.
                                     COntempQranoou.sly with tli~ exooution oftbil) ~ 4~ee $all exe®.te· ~deliver to Le$sor
                                     a firuinob1g Statement in fonn st.1fflcient to perfect the ~ty jnterest of Lessor in the Materials
                                     and proceeds thereqf Uritier tbe provisions .of the. Qklahoma Busines.s and Commerce Code.
                                     Lessor may at any time file a copy of this Lease as a fi.nanchig'stiliement                                         ·
                                             20.   Notices. Any ooti.ce, ~uest, demand or other C1.)n:ttrlunicatinn requited or
                                    pennitted hereunder shall ~.given Jn writing' by (a)~()nal delivery1 0~ (b) eJtpedited aelivery
                                    serve -with proof of delivery, or (c) Unite4 $tates mail, po$ge pre{Jaid; re~ or cettified
        ,~-~                        mail, return receipt iequ~d, ~r (d) prepaid tde-grant, f~lei: er telesopy:;c sent t() t;y,e ~ded
                                    addreS$ee.~ the address shown on tile signat\® page <>fthi~~"· orio iruch other address orto
                                    the ·atte®on of such o-ther pe_t8on a8 'the addressee shall have. de5ignate4 by wri~ ootice 5ent in
                                    accotdanqe herewith. _Any such no1iee,_ request, demand Qr other communication shall be
                                    dee.tned to have been giy~ either l\.t fhectlme of~ d~exy ot, m the case of delivery
                                    serves or mail~ as .of th~ ~ _of i.k8t attenl~ de]h:~ ·at 'fhe address and in the. manner
                                    provided here~ or in the: oose of'felegnu.n, -teleX or telecopy~ upon receipt.
                                            21.     f\;itom~,s ·fees. Should either party h~eto institute fmY legal pl:pce¢ding to
                                    enforc.e any pr-o:vidon hereof ()r for danlnge by reason· ofany alleged breaob of any proviSiop. of
                                    this Lease· or for any otherjudioial remedy, f4e·prevailingparty •Shall be entitled to .receive-from
                                    the losing party 4U reasonable ·au6mey' s fees and .an eeurt .costs· in colihootion wi~ ·su.¢h
                                    proceeding.

                                             22~     ASsignment Without the-prlot wri:tret:t co~t <>f..Le:sso11 Le-ssee sha11 n.p~ ~igt1
                                    all. or any part of·its rights or intereSts heJ:eUpAet. I:A;ss,or Shall not mthhold $tJCh O.Ot1Seii.t if the.
                                   proposed assignee:pos~~s~· ~uate ·expetteo.ee, ~~t WOftb]ncs~. :mearilng-~t ~d. Party
                                   would. qu.aUty for a comparable loon at 8mr sfiifu:or federi.t.hmtitmfi:)n regtil~ hy aj?plicahle
                                   banking laws. and lbe ability 1:P ~i'totm Lessee S duties ~d obligations ~d.er.thtf,l '(:.ease•.116$01'-
                                                                                                   7



                                   ~ay ~sjgtt ti11 ur .any patt of lis. rl~ Qt: ~ hereunder without the consent of LeS$~
                                   SUl:!jeet to tbe p~edfug sentence, the,ptoVis1c;:ms hereof shall extend to and be b:Al~ng \IPoii the
                                   successors and assigns of the parties hereof! and no change or <f.i'viSi'on in ownersblp ()f the
                                   Property, the .M~teriafs u,r ·the .Royalties .9r _other amounts ,~able· ~~der, h't~Wever
                                   a~mpliShett Shnll operate to di:W.\nish ~obligations of Lessee hereunder;
                                                      .              ·,;




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                                                                                                                                                             13.9
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          23.     Quiet Enjoyment Lessor represents that Lessor is the sole ovmer of the Lease
  Premises, however, if 1beie is·~ ~®IP,lj)~&~ootstan:dm,g~~i.®f·the ~ed -PremiseS; LessQr
  represents tbnt it has the full ~ght ·ro .tease ·t1iv.rs.Bfflc li}1ott 'Uie ·tenns s~ forth herein. .LeS$or
  further covenants that Lessee S.~l ~Y·~~ q)iietlyenjoy the Leased~ for-the term
  of this Lease or any extension or renewal thereof. ln ~ ~pr owns an interest in the;
  Materials in and under the Leased Premises less than an undivided fee simple estate therein, then
  the payments to Lessor here.in provided for shall be paid to Lessor only in propdJ:tion which
  Lessor~ s interest bears to the whole and undivided fee therein.

            24.    Authority of l&ssor. It is ~re8sl}!· ~- that no change or division of the
 ownership of the. ~en  .·. ·. ,., Pren:tires
                                   ... ·.     or .~m-.
                                                  ~J ,J)$t,of'·th6.      ~
                                                        ..... _. ......, ...       however
                                                                                · ....
                                                                             ~-·~     · .  arlsi.n         ... .1 shall
                                                                                               . g or effected·    ·...

 operate 'to increase tfte oblfg~n9~ or·~ the rig}lts ~'f'"~e hereunder. Notwitb$tandblg
 any other a6tw4. o'r Q4~tru:Ve Jm$wl¢4ge- ,~r J1~'ij~ ·:w~}rt§ijeyer ther®r, L~see shall not· be
 l)o'ilftd by such chaqge·or. glV'iSlol1 iiJrtil ifh#s received a ~py ·of the assignment or oth~ evidence
                                                    or
 oftransf~r. In the event of an assignment transfer of a divided interest in the Leased PremiSes,
 the rentals p~yable IWreunder sbali be apportionable as betw~ the several owner~ ~~dh}g to
 -the ~.e area or nndivided interest of~ and default in nmtal payment by one shall not
 affecHhe tights of the other owners ofthe Leased Prewses.
         25. Force .Majeure. Should Lessee he;prev.Cllte.d. by ~Y cause reasonably beyond
 Lessee's control, includfu& without limiiation/ftQ,Q_d,Wili~1''any federal or state hiw or ~y
 other order, rule or regulation or govetnmenW ~lithorlty .ofJ·Vhieh Lessee ~s un~e tbmugb.
 the no~ exercise ofbusiness dWgen~ Jitig(tf0..g, ~*t:.ofGod~arid act of public enemy,                          from
 complying With:any e~~'Ptlmli.U~d ~\!e.tiaht,()(thls .Lease; then; while s9 preve~ted and for-a
 reasonabl~ pefi:()d, 'of fime·-~er~r (~at. fu·.:e)C~d thirty (30) days), Lessee's obligation to
 compW With such eovenant :~a1i"JJy'·~peiijl~ aifci Lessee shall notify Lessor of the beginning
 and endi,Q:g. p~te of~¢}): sucl1·:PeriO"d o£f0ree-~enre.

         Z6.     Lesoor Default. Lessor agrees ~ -~~ ~all ba\i"e the tight: in t1le ev$t of a
defa.ult b,y Lessor of obligations tq. make ~--filS on any~~~~ce or obi~aiion to ,pay
taxes that d.irectly threaten: the possessi®:d~ I!U:!,(;l· pt()Vid.¢' that Less~w current in ~ of
·Le~see,s obligations. L~ may make such payruen.ts and b~ liUowed an ,Q:ffset agafust sums
due Lessor. However; the rlght of Lessee to ~ -~uch :paymentS is specifically conditioned on
Lessee~s OOmplimtce and perfbnnance with all te.rms and ~ntiitions of the ~e and the actual
                                                                             7
threat of tht: taking of the premis~ or interference with Less~ S possession by such defaults by
Lessor.
         27. .   Memo.tandum. The parties agree that this Lease shall wt be filed of record). but
 that instead, the patjie$ Slni1l ~and file a.M~oran4um: of~e in-the formaf;Utehed heretO as
EXhibit .1;}.

        28.      Yalldin. A detemlination t1lat ~l- -.PWYiiji~~ of ti:Us, teas~ is un~re~able o:r ·
invalid s1tnl1 not affect the ~bility or yruidity. Of:any other provisiop, :and the. ()¢t~inr¢[oti
that ihe applicatioo of'any pt9ymi6n.-of this; Lease' :tg ,,~ p~ QT r.iroumstance is ilieg& or
Un~nf'orcenble shall not affect the e,nfurce~bility or valtffi1y of such provision as it may apply to
other persons Qf·eiroUmst&ttooa.



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         2?,      Winver. No waiver       of·~   p:rovJ$iori of this Le8Se and l\O <»~nt tu any
 departriletJ.t hetefrom ·~}: be··~e unless Ot'lllifil the~ f?al!le sbal~ be Jn wRUng ahd.signed by
 the PiUt.Y. ag3bi$t wh($.. ~ueb. waiv§r {if ~·Bhhll·oo claimed, and ~en SU:chwai:vetorconsent
 shall be   effective o.nty as to the--specific instance attd for the specific purpose fo.r which if is
 given.

        30.     Complete Agreement. This· IAase ~sse$ th~ complete agreement betWeen
 Lessor and I.esaee. No other oral or written ~ents·exist~tw~ ):.e8s0r f#ld Lessee-which
 are not expre~ herein.      The~mqtte~herein cannot be amended or waived except
 by an instrument ln. Writing.~~ ~·bQth LeSsor and Lessee.

        31.     COnn~.. This Lea$e may he ~i';Ctifed ib any one qr mo~ c;Qutrtefparl$i ea<ili·
 of which shall co~tufl.' an original;. but allo.f'wltich tQgether Shall .c~ but one al,lQ. the,
 same Lease.
                                          [Signatures Follow]




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          IN WITNESS WHEREOF, Lessor and Lessee have executed this Lease as of the date
  first written above.

                                          LEO AND MAaEL SCOTI CHARITABLE
                                          TRUST




                                         By:      OKLAHOMA CHRis-TIAN UNIVERSITY,
                                                  Co--Trustee




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                                                                                 .· ..~·

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                                       By      NORTH CENTRAL TEXAS COLLEGE,
                                               Co-Trustee




                                       By      UNITED WAY OF COOKE COUNTY,
                                               Co-Trustee




                                       Addre~:   P.o 5o'b    G\o~.
                                            ~Q:,\t:XgSy\\\ ~-. ;f;& .:t~_t+ l      .. -   ·-.,




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        Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 116 of 160 PageID #: 122




               . ~FORB MB.··
                           . · :f the undersi8Jled authority; on this day persontl]~y app~~ed
                . ~h Q(\ £je; 11~          . known to me to be the person whose name ts subscnbed
         to ~Going instnnnentaiid acknowledged to me that such person executed the same in the
         capacity and for the purposes and consideration therein expressed.
                 q~             UNDER MY HAND AND SEAL OF OFFICE                    this 4J#    day of
                  :fui\~                , 201 t.


                                                       NOTARYPUBJfiN ·           ·foR TilE
                                                       STATEOF {4 /z~. ~ ~
                                                       My Commission Expires: . l)~


         STATE OF X~};fi.S                         )
                                                   )
         COUN1Y OF ...==~OO\z~.                    )

                 BEFORE ME, the undersigned authority, on this day personally appeared
            :fi«" .Xu :d:Xlitl \:e.           • known to me to be the person whose name is subscribed
         tO the foregoing instrument and 8,¢ku.()wledged to me that such person executed the same in the
         capacity and for the purposes and consideration therein expressed.

                 giVEN UNDER MY HAND AND SEAL OF OFFICE                             this \ Lo-+l-- day of
               ;;j;\)J).'(b_,       )   2011.




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Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 117 of 160 PageID #: 123




  STATBQF       :TEXI4.d                  )
                                          )
  COUNTY QF         CW1<.£;, ,_,-         )
        . BEFORE . ~ the undeisi~ed authority. on this day persooaily appeared
        ~b,~e.. .•$ha      :if        .     ~ known to me to be the person whose name is subscribed
  to the !oi:egomg inst:ruil)e: · . and a6knowledged to me that such person executed the same in the
  capacity and for the purposes and consideration therein expressed.

         GIVEN UNDER MY HAND AND SEAL OF OFFICE this J.k:'#..... day of
        QI&I1R     r.      ., 2011.




  STATE OF    .le£Cft,S                   )
                                          )
  COUNTY OF        6c>:&Lr-               )

           BEFORE ME, the undersigned authority, on this day personally appeared
 ''3Cht':\. Sc .hwcleilitttV'LVe.f.,. . •. known to me to be the person whose name is subscribed
 to 'tlie foregoing instnunent'and ~knowledged to me that such person executed the same in the
 capacity and for the purposes and consideration therein expressed.

          GIVEN UNDER MY HAND AND SEAL OF OFFICE thisr~+"'-day of
 .   ·:s;;~~J·..     ~ 2011.




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   STATE OF.    :f£ )!.t\5              )
                                        )
   COUNTY OF ~OOKg.           .         )

          BEFORE ME~ the undersigt;led al.ltlwri:ty, on tbh~ day p~nally appear~ Charles N.
   Davis, IU. kl;town to me to be the person whose n:atne is subsCribed to the fi>regomg lnsttum9t.it
   and !!Cknowledged to me that he executed the same in the capacity aild for ihe purposes and
   consideration therein expressed.                                                            ·

           GIVEN UNDER MY HAND AND SEAL OF OFFICE this                               ~ 1£ day of
         .. ;fyA -L.- _ • 201 L




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, ............-...,




                                                                EXIBBlT.A
                                               I)E$CRIPTION OFTll£~ASJ!}D:PREMJS"E§
                           THE FOLLOWING PARCELS LOCATED IN LOVE COUNTY, OKLAHOMA,
                       TOWNSIUP 9, SOuni RANGE I EAST:

                                                                               Acres
                       Section 22 Lots 4 & 5                                    27.45
                       Section 23 SW/4                                         160.00.
                       Section 23 SE/4                                         160.00
                       Section 24-S/2 NW/4 and NW/4 SW/4                        11.63
                       Section 25 S/2 NW/4 and SW/4                             52.50
                       Section 25 W/2 NW/4 NW/4                                  4.6901
                       Section 26 NE/4 and W/2 SFJ4 NW/4                       180.00
                       Section 26 Lot.s·3, 4, 5 and N/ SE/4 and SE/4 SE/4      196.70
                       Section 26 Lot 1 md E 15.55 acres of Lot 2 and NE!4
                        NW/4 and Ef2 SFJ4 NW/4                                 110.20
                       Section 26 W 5.25 acres of Lot 2                          5.25
                       Section 35 Lot 2                                          8.60
                       Section 35 Lots 1 and 3                                  48.60
                       Section 36 NW/4 NW/4 NW/4                                10.00
                       Section 36 SE/4 NW/4 NW/4 and E/2 SW/4 NW/4
                        and all SE/4 NW/4 and Lot 3 W ofHwy 77                  41.50
                              Total                                          ··1:023.1201




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  a   "
          Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 120 of 160 PageID #: 126



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      Dm~ ,-1't- ·7t,o(JD5                     MEMORAND'UM(}'i:~~..
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                                                                                         .

             ._.    THIS MEMORANDUM OF LEASE (the                    "Memor~d~")
                                                                          is dated the ':il day of      ~
             s~    1--\€  , 2011 by and among OKLAHOMA CHRISTIAN UNIVERSITY, NORTH
           . CENTRAL .TEXAS COLLEGE, UNITED WAY OF COOKE COUNTY and THE FROST
             NATIONAL BANK, as Co-Trustees ofthe Leo and Mabel Scott Charitable Trust ("Lessor") and
             Charles N. Davis, III ("Tenant'').

                                                       RECITALS:

                    A.      Lessor and Tenant have entered into that certain Mining Lease dated the date
            here<jfcalling for a l¢ase of the Pr()perty de$9rl:bed. on Exhibit "~A" attached hereto and made a
            part hereof by tbis reference ft>r ~~ purposes, (the. uLease'');

                   B.     Lessor and Tenant desire to reflect of record the existence of the Lease and the
            Option and therefore have entered into this Memorandum.

                   NOW, TIIBRBFORE~ for and in consideration of Ten Dollars and oth~r good and
           valuable consideration, the receipt and 'Sllffi~ieocy of which is hereby acknowledged by the
           parties hereto, the parties hereby state and agree as follows:

                   1.      The parties desite to recQ~d this Memorand'inn to r~tlect the existence ofthe Lease
                             the
           and the rights of Lessor and the Tenant in accordance therewfth,
                   2.      Lessor and Tenant h:~reby specifieaUy agree that in. th~• event that the tenant shall
           derauJt or fail to p~rforrn ~·· <rf 'its obligation$ undet' and pur$\lfuitto the Le!lse~ or·. shputd the
           t.e~e terminate f-or any reason, tJle.Lessor sfuill be entitledto.execqtearelease and tenuinati(m
           of this Memorandum. The Tenant hereby grants m.d·appoints to the Lessor.~ pJlwer·O:f a1;t0rney,
           sqch power of attorney ·bem.s ·~pled wt,'tban. interest and t-o co~titute a durable.puwer o.f
           attQrney whereby tlte power of :aft(i)me.y shaJ1 s.t'(rYive the death, termination ()r liq'!lida#.on of all
           or any ()f the persops or entitie$. cp!ppdsifig tli¢ Tenant and shall continue pptW'ithstanding: the
           lJanltruptcy of any of the petsc,ns ot erttiti~ comprising ·the. Tenant. This :power of attom¢y .sh~ll
           be granted for the. pUJ)pOse of executing on .behalf of the Tenant, and all persons or entities
           c.omprising the Tenant, the r~tease ~ tetminadon of thi~ M:emorandum in· the ev~t that the
           t~~at1t shall default under or fail to. p~ri'orm ·t,Uiy of its .obfigatifUlS und¢r the Lease) shall fail to
           exerCise the Optioo or.irt the ·ev~t that the Lease or the option slli;U tenninate fo.r ff!lY rq~()ll.
                      3. Defined terms used herein shall bear the same meaning as set forth in the Lease
          and the exhibits attached thereto except as otherwise provided herein.

                                                  [Signature Page Follows]




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                                                                ·She11Y Rtls$oU ~.Love ceunty Clerk
                                                                       sta~   ()I Ok!ahorna
          IN WITNESS WHEREOF t the parties hereto have executed this Memorandum effective
  as of the date set forth above.
                                         LESSOR;

                                         LEO AND MABEL SCOTI CHARITABLE
                                         TRUST

                                         By:    THE FROST NATIONAL BANK,
                                                Co-Trustee




                                                              Vice· President

                                         By:    OKLAHOMA CHRISTIAN UNIVERSITY,
                                                Co-Trustee             ·




                                         By     NORTH CENTRAL TEXAS COLLEGE,
                                                Co-Trustee




                                         By    UNITED WAY OF COOKE COUNTY,
                                               Co-Trustee




                                                                                         13. 19
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                                                  1-2012·000284 Book 0714 Pg: 466
                                                  0112012012 2:20pm Pg 0464-0470
                                                   Fee: $25.00     Do~:   $ 0.00
                                                     Shelly RusseB • love  county' Clerk
                                                            ·$ta{e of Oklahoma
                                   LESSEE:




                                                                            13.20
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 123 of 160 PageID #: 129




 sTATE oF    QRJa~~                     )
                                        )
 COUNTY OF      ()~~()./                )

    .C. i ~EFORE
    1tfl\          e~
                     MI}" the undersigned authority, on this day personally appeared
                                  . .  'lmown to me to be the person whose name is subscribed
 to tiihi<t:&oitig 1nstrunienf and acknowledged to me that such person executed the same in the
 capacity and for the purposes and consideration therein expressed.

       ~ UNDER' Z~.                   HAND AND       SEAL OF OFFICE this             f.?~ day      of




                                             NOTARY P!fr/.CIN AND. FOR·. THE
                                             STATE OF. ·. '(Jh@a./ ~
                                             My Commission Expires: . t) JJ/
                                                                                    l.J¥.
                                                                                   1


STATE OF     TE:f-.f¢2                 )
                                       )
                                       )

       BEFORE ME,         the   undersigned authority, on this day personally appeared
   J1 M J'wk>e.v'} \\ .(. . .        ~ lmown to me to be the person whose name is subscribed
to the foregoing instrument     and
                                 acknowledged to me that such person executed the same in the
capacity and for the purposes and consideration therein expressed.          ·

       GIVEN UNDER MY HAND AND                      SEAL OF OFFICE this I k~ day of
       ::fU;{)-e.... , 20 11.




                                            NOTlir~~i,~
                                                IE.'t-t\5
                                            STATE OF
                                                          TaB.·
                                            My Commission Expires:    3- \ \..p- :;:J..p \ ~.




                                                                                         1 3. 21
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 124 of 160 PageID #: 130




  STATE OF .}~E}Llp:      .           )
                                      )
  COUNTY OF_ ·~Cpt.{/LE               )

      .... BEFORE ME, the         undersigned authority, on this day personally appeared
   . _.~0: ey 5'ha(p .              . _. known to me to be the person whose name is subscribed
  to the foregoing instrument and acknowledged to me that such person executed the same in the
  capacity and for the purposes and consideration therein expressed.

         GIVEN  UNDER MY HAND AND                    SEAL OF       OFFICE this #ctay           of
      dM.tJLt-"•" - . ~ ? 2011.




 STATE OF ~~~41:5-                    )
                                      )
 COUNTY OF Jie:ut...r-                )

        BEFORE      ME,       the . ~de!$igned authority, on this day personally appeared
  ::SOno.--$cl)ro~~Ah;cYF£'-'- .. _?known to me to be the person whose name is subs~ribed
 to the foregoing tps!ttifil,~nt and ackriowledged to me that such person executed the same m the
 capacity and for the purposes and consideration therein expressed.

         GIVEN UNDER MY HAND                AND     SEAL     OF OFFicE       this~day         of
   -=st.\>..\~: ;  ' i 2011.




                                                                                    13.22
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 125 of 160 PageID #: 131




                                                                          1·2012-000284 Book 0714 Pg: 469
                                                                         01/20/2012 2:20 pm Pg 0464·0470
  STATE OF     TC.'/. fr$              )                                 Fee:    $ 25.00   Doc:   $ 0.00
                                       )                                       Shelly RusseU - Love £Ouh~· Clerk
                                                                                     stale otaldanoma   ..,
  COUNTYOF         COOk£               )

         BEFORE ME, the undersigned authority, on this day p,er.;;onally appeared Gnarles N.
  Davis; III; known to me to be the pers.on whose name is subscribed to the foregoing inStrilnlent
  and ackn<>'\'llledged to me that he executed the same in the capacity and for the purposes and
  consideration therein expressed.
         GIVEN UNDER MY HAND AND                     SEAL OF OFFICE                   this   ~ n4      day of
       ;rUf) €.n            . '2011.

                                              NoT~tiiE
                                              STATE OF       -r'"Ef;:gif\:,S
                                             My Commission EXpires:             a .. It,.~   6toy4 .




                                                                                                 13.23
              Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 126 of 160 PageID #: 132




                                                 PltOPJ!lR.TY DESCRIPTION
                   THE FOLLO~G PARCELS LOCATED IN LOVE COUNTY, OKLAHOMA,
               TOWNSHIP 9, SOUTH RANGE 1 EAST:

                                         Tract                              Acres
               Section 22 Lots 4 & 5 ../                                     27.45
               Section 23 SW/4 v                                            160.00
               Section 23 SE/4.!                                            160.00
               Section 24-S/2 NW/4 and NW/4 SW/4 v                           11.63
               Section 25 S/2 NW/4 and SW/4)                                 52.50
               Section 25 W/2 NW/4 NW/4 J                                     4.6901
               Section 26 NE14 and Wf2 SE/4 NW/4 J                          180.00
               Section 26 Lots 3, 4, 5 and Nf SE/4 and SE/4 SE/4 1          196.70
               Section 26 Lot 1 and E 15.55 acres ofLot 2 and NE/4 1
                NW/4 and E/2 SEI4 NW/4                                      110.20
*.,. ... ,,
               Section 26 W 5.25 acres of Lot 2 j                             5.25
               Section 35 Lot 2                                               8.60
               Section 35 Lots land 3                                        48.60
               Section 36 NW/4 NW/4 NW/4                                     10.00
               Section 36 SE/4 NW/4 NW/4 and E/2 SW/4 NW/4
                and all SE/4 NW/4 and Lot 3 W ofHwy 77                    47.50
                      Total                                             1023.1201




                                                                                       13.24
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 127 of 160 PageID #: 133

                                                                          1-2013-005889 Book 0~530:0~~~2~~
                                                                          10/29/2013 11:00 am oc·g S 0 00
                                                                          Fee·    $ 33 OO
                                                                                             0 · h• Clerk
                                                                              Shelly Russell- Love coun.,
                                                                                      state of Oklahoma


            MEMORANDUM OF LEASE ASSIGNMENT AND AMENDMENT

       THIS MEMORANDUM OF LEASE ASSIGNMENT AND AMENDMENT OF
MINING LEASE (the "Memorandum") is made and entered into effective as of ~\w.\uJQ
2013 (the "Effective Date") by and among Red River Aggregates, LLC, a Texas limit(; liability
company registered and authorized to do business in the State of Oklahoma ("Assignor"), Recti-
Mix, LLC, a Texas limited liability company ("Assignee"), and by Oklahoma Christian
University, North Central Texas College, United Way of Cooke County and Frost Bank,
formerly The Frost National Bank, as Co-Trustees of the Leo and Mabel Scott Charitable Trust
("Lessor").

                                           RECITALS

        WHEREAS, Lessor and Assignor entered into that certain Mining Lease dated June 3,
2011, a memorandum of which was recorded at 2:20PM on January 20, 2012 in the office of the
Clerk for Love County, State of Oklahoma at 1-2012-000284 Book 0714 Pg: 464-0470 calling
for a lease of the Property described on Exhibit 1 attached hereto and made a part hereof by this
reference for all purposes, (the "Lease"); and

        WHEREAS, Lessor, Assignor and Assignee have entered into that certain Assignment,
Consent to Assignment and Amendment of Lease dated the date hereof and made a part hereof
by this reference for all purposes (the "Assignment"); and,

       WHEREAS, Lessor, Assignor and Assignee desire to reflect of record the existence of
the Assignment and the rights of the Lessor, Assignor and Assignee in accordance therewith;

        NOW, THEREFORE, for and in consideration of Ten Dollars and other good and
valuable consideration, the receipt and sufficiency of which is hereby acknowledged by the
parties hereto, the parties hereby state and agree as follows:

       l.     The parties desire to record this Memorandum to reflect that the Assignor has
              with Lessor's consent assigned its interest as lessee under the Lease to Assignee
              and that the lease has been amended in various respects as provided for in the
              Assignment.

       2.      The parties hereby specifically agree that in the event that the Assignee shall
               default or fail to perform any of its obligations under and pursuant to the Lease, or
               should the Lease terminate for any reason, the Lessor shall be entitled to execute a
               release and termination of this Memorandum. Assignee hereby grants and
               appoints to the Lessor, a power of attorney, such power of attorney being coupled
               with an interest and to constitute a durable power of attorney whereby the power
               of attorney shall survive the death, termination or liquidation of all or any of the
               persons or entities comprising the Assignee. This power of attorney shall be
               granted for the purpose of executing on behalf of the Assignee, and all persons or
               entities comprising the Assignee, the release and termination of this

                                                                                                Page I




                                                           EXHIBIT

                                                          J)
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 128 of 160 PageID #: 134




              Memorandum if the Assignee shall default under or fail to perform any of its
              obligations under the Lease, or if the Lease shall terminate for any reason.

       3,     Defined terms used herein shall bear the same meaning as set forth in the Lease
              and the exhibits attached thereto except as otherwise provided herein.

       IN WITNESS WHEREOF, the parties have executed this Agreement as of the date first
 above written.

                                              LESSOR, LEO AND MABEL SCOTI
                                              CHARITABLE TRUST




                                                          Vice Pre~1dent

                                              By:Olclahoma Christiun University, Co-Trustee

                                              By_________________________
                                            · Name: _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Title: _ _ _ _ _ _ _ _ _ _ _ __



                                              By: North Central Texas College, Co-Trustee
                                              By__________________________
                                              Name: _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Title: _ _ _ _ _ _ _ _ _ _ _ __



                                              By: United Way of Cooke County, Co- Trustee
                                              By__________________________
                                              Name:
                                              Title: _ _ _ _ _ _ _ _ _ _ _ _ ___



                                                           1-2013-005889 Book 0753 Pg: 209
                                                           10/29/2013 11 00 am Pg 0208-0218
                                                           Fee·     $ 33.00       Doc:    $ 0.00
                                                               Shelly Russell - Love County Clerk
                                                                      State of Oklahoma


                                                                                          Page 2
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 129 of 160 PageID #: 135




               Memorandum if the Assignee shall default under or fail to perform any of its
               obligations under the Lease, or if the Lease shall tenninate for any reason.
        3.     Defined terms used herein shall bear the same meaning as set forth in the Lease
               and the exhibits attached thereto except as otherwise provided heroin.
        IN WITNESS WHEREOF, the parties have executed this Agreement as of the date fii'St-
  above written.

                                               LESSOR, LEO AND MABEL SCOIT
                                               CHARITABLE TRUST
                                               By: Frost Bank, Co-Trustee

                                               By_________________________
                                               Name: _ _ _ _ _ _ _ _ _ _ _ _ __
                                               Title:._ _ _ _ _ _ _ _ _ _ _ __



                                               By: Oklahoma Christian University, Co-Trustee




                                               ~~:tt~, '·~~s-1
                                               By: North Central Texas College, Co-Trustee
                                               By_________________
                                               Name: _ _ _ _ _ _ _ _ _ _ _ _ __
                                               Title: _ _ _ _ _ _ _ _ _ _ _ _ __



                                               By: United Way of Cooke County, Co- Trustee
                                               By_________________________
                                               Name: _ _ _ _ _ _ _ _ _ _ _ _ __
                                               Title: _________________

                                                                                                        10
                                                                  1_2013-005BB9 Book 0753 Pg: 2
                                                                  10/29/2013 11 :00 am Pg 020B-021 B
                                                                  Fee      $ 3300        Doc:    $ 0.00
                                                                      Shelly Russell _ Love county Clerk
                                                                              stale of Oklahoma




                                                                                           Page2
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 130 of 160 PageID #: 136




              Memorandum if the Assignee shall default under or fail to perfonn any of its
              obligations under the Lease, or if the Lease shall tenninate for any reason.

       3.     Defined terms used herein shall bear the same meaning as set forth in the Lease
              and the exhibits attached thereto except as otherwise provided herein.

        IN WITNESS WHEREOF, the parties have executed this Agreement as or the date first
 above written.

                                              LESSOR, LEO AND MABEL SCOTT
                                              CHARITABLE TRUST

                                              By: Frost Bank, Co-Trustee

                                              By __________________________
                                              Name: _ _ _ _ _ _ _ _ _ _ _ _ ___
                                              Title:, _ _ _ _ _ _ _ _ _ _ _ _ __



                                              By: Oklahoma Christian University, Co-Trustee

                                              By_ _ _ _ _ _ _ _ _ _ _ _ _ ___
                                              Name: _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Title:._ _ _ _ _ _ _ _ _ _ _ _ __




                                              By: United Way of Cooke County, Co- Trustee
                                              By_________________________
                                              Name:._________________
                                              Title: _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                                      1·2013-005889 Book 0753 Pg 211
                                                                      10/29/2013 11 00 am Pg 0208·0218
                                                                      Fee·.    $ 33.00      Doc:    $ 0.00
                                                                          Shelly Russell- Love County Clerk
                                                                                 State of Oklahoma




                                                                                         Pagc2
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 131 of 160 PageID #: 137




              Memorandum if the Assignee shall default under or fail to perform any of its
              obligations under the Lease, or if the Lease shu II terminate for any reason.

       3.     Defined terms used herein shall bear the same meaning as set forth in the Lease
              and the exhibits attached thereto except as otherwise provided herein.

        IN WITNESS WHEREOF, the parties have executed this Agreement as of the date first
 above written.

                                              LESSOR, LEO AND MABEL SCOTT
                                              CHARITABLE TRUST

                                              By: Frost Bank, Co-Trustee

                                              Na_m_e_:
                                              By      ___________________________
                                              Title: _ _ _ _ _ _ _ _ _ _ _ _ __



                                              13y:Oklahoma Christian University, Co-Trustee

                                              By_________________________
                                              Name:
                                              Title: - - - - - - - - - - - - - - -



                                              By: North Central Texas College, Co-Trustee
                                              By_________________________
                                              Name: _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Title: _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                       1-2013-005889 Book 0753 Pg: 212
                                                                       10/29/2013 11:00 am Pg 0208-0218
                                                                       Fee:    $ 33.00   Doc:   $ 0.00
                                                                           Shelly Russell - Love County Clerk
                                                                                  state of Oklahoma



                                                                                         Page 2
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                                                                          ASSIGNOR:




                                                                          By: Charles N. Dav' , III
                                                                          Its Chainnan
                                                                          ASSIGNEE




 STATE OF TEXAS                                                    §

 COUNTY OF                               UtvfoN                    §

        On this 2iP day of 5~/                       2013, personally appeared before me Charles
 N. Davis, III, as Chairman of Red River Aggregates, LLC a, Texas limited liability company,
 and that said instrument was signed by said person in such capacity.




                                                                          (SC1J42h=
 SEAL


              $$~;~y~~~~~~                     CRYS~Al R. KING
              !i;'Jj, i                  Notary Public, State of Texas
                                                                          My commission expires:      ZJ&pl-z..q Z.olt./-
              \...).~.:::!                 My Commission Expires
                   ..,,;t~;~i~~~~,. .~      Sep1ember 20, 2014
                                                                                                1-2013-005889 Book 0753 Pg: 213
                                                                                                10/29/2013 11:00 am Pg 0208-0218
 STATE OF TEXAS                                                     §                           Fee:     S 33.00       Doc:    S 0.00
                                                                                                    Shelly Russell - Love County Clerk
 COUNTY OF                               JClrrCUt+-                 §
                                                                                                           State of OKlahoma


         On this l:1L_ day of                            9,/Jf              ,
                                                     2013, personally appeared before me Niel L.
 Poulsen, who being by me dulYfffirmed, did say that he is the Vice President ofRedi-Mix, LLC,
 a Texas limited liability company, and that said instrument was signed by said person on behalf
 of said corporation.

 SEAL

  ~f£.~f.~•+,.       SANDRA AllEN
flr:s':Jh
".j,~~j
               Notorv Public. State or Texas
                 My Commission Expires                                   ~ture)                   ~
-..~;~;i..-                    March 08, 2017                             My commission expires:~ Ch               Odj    ~01'7



                                                                                                                         Page 3
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 133 of 160 PageID #: 139




 STATE OF   "J.e.m S
 COUNTY OF      6€.-'bA.g__..
 ~     BEFORE     ME,     the   undersigned   authority,   on   this   day   personally   appeared
 ~" ';x:b~W\4-n n       , known to me to be the person whose name is subscribed to the
 foregoing instrument and acknowledged to me that such person executed the same in the
 capacity and for the purposes IUld consideration therein expressed.

       GJVEN UNDER MY HAND AND SEA                   OFFICE     thi~day ofSt~~.
                                                NOrgyPUBLIC IN A         FO      ESTATE
                                                OF I etc..~
                                                My commission expires: 3 -cit) ~d0\4



 STATE OF _____________

 COUNTY OF _____________

        BEFORE ME, the undersigned authority, on this day personally appeared
 ...,--..,...---,-----,..- known to me to be the person whose name is subscribed to the
 foregoing instrument IUld acknowledged to me that such person executed the same in the
 capacity and for the purposes and ·consideration therein expressed.

       GIVEN UNDER MY HAND AND STIALOF OFFICE this_ day of_, 2013.


                                                NOTARY PUBLIC IN AND FOR THE STATE
                                                OF -----o-:--
                                                My commission expires: _ _ _ _ _ _ _ __



                                                                               1-2013-005889 Book 0753 Pg: 214
                                                                               10/29/2013 11:00 am Pg 0208-0218
                                                                               Fee:     $ 33.00       Doc:    $ 0.00
                                                                                   Shelly Russell - Love County Clerk
                                                                                           State of Oklahoma




                                                                                             Page4
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 134 of 160 PageID #: 140




  STATE OF _ _ _ _ __
  COUNTY OF _ _ _ _ __

          BEFORE ME, the undersigned authorit)', on this day personally appeared
  '='"""-,-....,...----•      known to me to be the person whose name is subscribed 10 the
  foregoing instrument and acknowledged to me that such person executed the same in the
  capacit)' and for the purposes and consideration therein expressed.
        GIVEN UNDER MY HAND AND SEALOF OFFICE this_ day of__, 2013.

                                             NOTARY PUBLIC IN AND FOR THE STATE
                                             OF---,--,--
                                             My commission expires:_ _ _ _ _ _ __


  STATE OF OI<JQ.~M .....
  COUNTY OFOk.l o.iv> ,_...._

         BEFORE ME, the undersigned authority, on this day personally appeared
  St..p"'-t.J E~           , known to me to be the person whose name is subscribed to the
  foregoing instrument and acknowledged to me that such person executed the same in the
  capacity and for the purposes and consideration therein expressed.
        OIVEN UNDER MY HAND AND SEALOF OFFICE this -r day of ~r#. ,2013.
                                                   tU



                                                                       1-2013-005889 Book 0753 Pg: 215
                                                                       10/29/2013 11:00 am Pg 0208-0218
                                                                       Fee:     $ 33.00       Doc:    $ 0.00
                                                                           Shelly Russell - Love County Clerk
                                                                                   State of Oklahoma




                                                                                      Page4
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 135 of 160 PageID #: 141




STATEOF~~~L-------­
COUNTYOF            ~
,(\    B.EF.P!~ME,             the
                                undersigned authority, on this day personally appeared
uJ~ ~                                , known
                                       to me to be the person whose name is subscribed to the
foregoing instrument and acknowledged to me that such person executed the same in the
capacity and for the purposes and consideration therein expressed.

       GIVEN UNDER MY HAND AND SEALOF OFPI                  'thisdkdayof¥2013.

      !':       1t NotaryLYNN
       ~~!~';,\'¥f;~           C. PEJEIIS
                          Public, Stale of Texas
                                                   -&L--1~""--f.~.
                                                   N
                                                                  ~=:.....__ _ _ __
      \{.     ..~   My Commission Expires
       ~•4:1~\.t     february 24,2016              OF---,-.,--
                                                   My commission expires: _ _ _ _ _ _ __



STATE OF __________

COUNTY OF ____________

        BEFORE ME, the undersigned authority, on this day personally appeared
_ _ _ _ _ _ _ _ _ , known to me to be the person whose name is subscribed to the
foregoing instrument and acknowledged to me that such person executed the same in the
capacity and for the purposes and consideration therein expressed.

       GIVEN UNDER MY HAND AND SEALOF OFFICE this __ day of ___ , 2013.


                                                   NOTARY PUBLIC IN AND FOR THE STATE
                                                   OF
                                                   My commission expires:._ _ _ _ _ _ __


                                                                         1-2013-005889 Book 0753 Pg: 216
                                                                         10/29/2013 11:00 am Pg 0208-0218
                                                                          Fee·   $ 33.00    Doc:  $ 0.00
                                                                             i:mel~ Russell - Love County Clerk
                                                                                    state o! Oklahoma




                                                                                        Page 5
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 136 of 160 PageID #: 142




 STATE OF _ _ _ __

 COUNTY OF _ _ _ _ __

         BEFORE ME, the undersigned authority, on this day personally appeared
 -,---...,.-----,-----· known to me to be the person whose name is subscribed to the
 foregoing instrument and ucknowledged to me:: that such person executed the some in the
 capacity and for the purposes and considemtion therein expressed,

       GTVEN UNDER MY HAND AND SEALOF OFFICE this_ day of __, 2013.


                                                  NOTARY PUBLIC IN AND FOR THE STATE
                                                  0 F -----:---:--
                                                  My commission expires:. _ _ _ _ _ _ __



 STATE OF le>(Q          S
 COUNTY OF    (00f?.;
       BEFORE        ME.t the undersigned authority, on this duy personally appeared
 JitVJllA riO£ VI ( ~  1
                              known to me to be the person whose name is subscribed to the
 foregoing instrument and acknowledged to me that such person executed the same in the
 capacity and for the purposes and consideration therein expressed,

       GIVEN UNDER MY II AND AND SEALOF OFFICE                    this:l]~y of¥2013.
                                                  NOTAI~iHttH~W1ft)R
      e             TINAMORGAN
                Nolaly Public, State of Texos
               MrCOfllllilllonllqi11111·18·2014
                                                  OF   JRxa:  ~-            lj
                                                                                         THE STATE

                                                                                              'f___
                                                  My commission expircs: _ _.L.L!/(?t:..+/.!.(4




                                                                           1-2013-005889 Book 0753 Pg: 217
                                                                           10/2912013 11 :00 am Pg 0208-0218
                                                                           Fee·     $ 33.00       Doc:    $ O.OO
                                                                               Shelly Russell - Love County Clerk
                                                                                       state of Oklahoma




                                                                                                  Page 4
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                                                             EXHIBIT 1

                                   DESCRIPTION OF THE LEASED PREMISES


        Situated in the County of Love, State of Oklahoma, Township 9 South, Range I East, of
the Indian Base and Meridian, being more particularly described as follows:
Section 22 Lot 4 ................................................................................................................. 20.05 AC
Section 22 Lot 5 ................................................................................................................. I0.87 AC
Section 22 Accreted Land .................................................................................................. 85.32 AC
Section 23 SW/4 .............................................................................................................. 160.61 AC
Section 23 SE/4 ................................................................................................................ 159.90 AC
Section 24 S/2 NW/4 West ofBNSF Railroad .................................................................. 34.16 AC
Section 24 NW/4 SW/4 West ofBNSF Railroad .............................................................. 10.78 AC
Section 25 W/2 NW/4 NW/4 West ofBNSF Railroad ....................................................... .4.81 AC
Section 25 S/2 NW/4 West ofBNSF Railroad .................................................................. 12.99 AC
Section 25 SW/4 West ofBNSF Railroad ........................................................................ .49.29 AC
Section 26 NE/4 ............................................................................................................... 160.22 AC
Section 26 SE/4 NW/4 ....................................................................................................... 28.51 AC
Section 26 N/2 SE/4 ........................................................................................................... 80.27 AC
Section 26 SE/4 SE/4 ......................................................................................................... 40.02 AC
Section 26 NE/4 NW/4 ...................................................................................................... 40.56 AC
Section 26 Lot l ................................................................................................................. 20.85 AC
Section 26 Lot2 ................................................................................................................... 0.15 AC
Section 26 Lot 3 ................................................................................................................... 7.14 AC
Section 26 Lot 4 ................................................................................................................... 0.20 AC
Section 26 Lot 5 ................................................................................................................. 36.71 AC
Section 27 Accreted Land
Section 35 Lot 1 ................................................................................................................. 39.44 AC
Section 35 Lot 2 ................................................................................................................. 12.28 AC
Section 35 Lot 3 West of U.S. Highway No. 77 ................................................................ 13.52 AC
Section 35 Accreted Land .................................................................................................. 21.74 AC
Section 36 NW/4 NW/4 NW/4 .......................................................................................... 10.01 AC
Section 36 SE/4 NW/4 NW/4 .............................................................................................. 7.46 AC
Section 36 E/2 SW/4 NW/4 ............................................................................................... 17.12 AC
Section 36 SE/4 NW/4 WestofU.S. Highway No. 77 ........................................................ 5.40 AC

                                                                                                           Sub Totall090.38 AC
Land within limits of Red River ...................................................................................... 160.02 AC

                                                                                                                  Total 1250.40 AC



                                                               1-2013-005889 Book 0753 Pg: 218
                                                               10/2912013 11:00 am Pg 0208-0218
                                                               Fee·     $ 33 00       Doc:    $ 0.00
                                                                   Shelly Russell - Love county Clerk
                                                                           state of Oklahoma


                                                                                                                                   Page 6
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states, or between citizens and the federal government; and 6) institutes a standing commission to
resolve any future disputes between Oklahoma and Texas. The compact went into effect August 31,
2000, when both the United States Senate and the House of Representatives approved the Red
River Boundary Compact as Joint Resolution 72.




From: Steve Schmitz [mailto:sschmitz@B291nvestments.com]
Sent: Monday, June 25, 2018 2:38 PM
To: David Behring <dbehring@us-concrete.com>
Subject: Stark Ranch, Cooke County, TX

David,

Thank you for taking the time to visit with us in Gainesville last week. At our meeting, you
mentioned wanting additional information regarding the methodology used in determining our
property boundary line along the Red River.

To follow up on your request for additional information, we engaged a Licensed State Land Surveyor
and Registered Professional Land Surveyor by the name of Nedra Foster to determine Stark Ranch-
West, LLC's legal boundary along the Red River. There are only a few surveyors in the state of Texas
who have the qualifications to determine gradient boundary lines, and Nedra was highly
recommended to us as one of the most knowledgeable gradient boundary surveyors in the state,
with particular experience along the Red River.

Nedra is an expert in determining boundary lines along Texas river banks and has extensive
experience in determining gradient boundaries. Nedra has been a Licensed State Land Surveyor
since 2000 and a Registered Professional Land Surveyor since 1999. The LSLS designation is a special
certification reserved for surveyors who perform work under which the state of Texas or federal
government may have an interest (such as along river banks). I've attached a copy of her resume
which summarizes her past experience.

The gradient boundary concept and methodology that Nedra relied upon was developed in a U.S.
Supreme Court case involving the boundary between Oklahoma and Texas along the south bank of
the Red River (State of Oklahoma v. State of Texas, 260 U.S. 606 {1923)). Under the direction and
instruction of the U. S. Supreme Court, surveyors Arthur Stiles (representing the interest of Texas)
and Arthur Kidder (representing the interest of the United States and Oklahoma) developed the
procedures under which inland watercourse boundaries are determined in Texas.

Based on the guidance developed through such case, Nedra used the following methodology to
determine the gradient boundary:

1) Locate a "qualified bank" within a reasonable vicinity of the project. This is an accretion bank
that the river has built during times of high water.
2} This bank is measured from the top (where the flowing water just reaches- overtops- and flows
back into the river) down to the toe (where the bank and bed of the river meet). Midway between
this top and toe is the gradient boundary.
3} If the water is flowing stably, it can be used as a 'plane' from which to work. At the "qualified
bank," the relationship between the surface of the stably flowing water and the gradient boundary

                                                                                                       6J.J.9 "ON 6Jaqwnta
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will be noted. For example- on a given day the water may be 1.2 feet below the gradient boundary.
Points will be taken through the project area at 1.2 feet above the stably flowing water. These
points will be on the gradient boundary. By using the water surface, the natural grade of the river is
followed.

We are confident in the accuracy of Nedra's work and continue to take the position that Redi-Mix's
operations have trespassed on our ranch and converted sand from our property.

We look forward to hearing from you so that we can work toward a prompt business resolution that
will make us whole for the damages Stark Ranch- West, LLC has suffered from Redi-Mix's trespass
and conversion of sand from our property.

Regards,
David,

Thank you for taking the time to visit with us in Gainesville last week. At our meeting, you
mentioned wanting additional information regarding the methodology used in determining our
property boundary line along the Red River.

To follow up on your request for additional information, we engaged a Licensed State Land Surveyor
and Registered Professional Land Surveyor by the name of Nedra Foster to determine Stark Ranch-
West, LLC's legal boundary along the Red River. There are only a few surveyors in the state of Texas
who have the qualifications to determine gradient boundary lines, and Nedra was highly
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with particular experience along the Red River.

Nedra is an expert in determining boundary lines along Texas river banks and has extensive
experience in determining gradient boundaries. Nedra has been a Licensed State Land Surveyor
since 2000 and a Registered· Professional Land Surveyor since 1999. The LSLS designation is a special
certification reserved for surveyors who perform work under which the state of Texc;~s or federal
government may have an interest (such as along river banks). I've attached a copy of her resume
which summarizes her past experience.

The gradient boundary concept and methodology that Nedra relied upon was developed' in a U.S.
Supreme Court case involving the boundary between Oklahoma and Texas along the south bank of
the Red River (State of Oklahoma v. State of Texas, 260 U.S. 606 (1923)). Under the direction and
instruction of the U. S. Supreme Court, surveyors Arthur Stiles (representing the interest of Texas)
and Arthur Kidder (representing the interest ofthe United States and Oklahoma) developed the
procedures under which inland watercourse boundaries are determined in Texas.

Based on the guidance developed through such case, Nedra used the following methodology to
determine the gradient boundary:

1) Locate a "qualified bank" within a reasonable vicinity of the project. This is an accretion bank
that the river has built during times of high water.
2) This bank is measured from the top (where the flowing water just reaches- overtops- and flows
back into the river) down to the toe (where the bank and bed of the river meet). Midway between
this top and toe is the gradient boundary.
3) If the water is flowing stably, it can be used as a 'plane' from which to work. At the "qualified
bank," the relationship between the surface of the stably flowing water and the gradient boundary
  Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 140 of 160 PageID #: 146
will be noted. For example- on a given day the water may be 1.2 feet below the gradient boundary.
Points will be taken through the project area at 1.2 feet above the stably flowing water. These
points will be on the gradient boundary. By using the water surface, the natural grade of the river is
followed.

We are confident in the accuracy of Nedra's work and continue to take the position that Redi-Mix's
operations have trespassed on our ranch and converted sand from our property.

We look forward to hearing from you so that we can work toward a prompt business resolution that
will make us whole for the damages Stark Ranch- West, LLC has suffered from Redi-Mix's trespass
and conversion of sand from our property.

Regards,

Steve Schmitz



From: David Behring <dbehring@us-concrete.com>
Sent: Wednesday, June 20, 2018 9:03AM
To: Steve Schmitz <sschmitz@B291nvestments.com>
Subject: Re: Message and Letter from last week

Sounds great. See you then.

Sent from my iPhone

On Jun 20, 2018, at 9:01AM, Steve Schmitz <sschmitz@B291nvestments.com> wrote:

      Yes, that works great. Please come to my office on the square in downtown Gainesville
      - 201 W. California St. It is the NW corner of the square.

       I would like for you and I and Myranda Shugart to meet (she is the land manager in our
       office and understands all the maps)

       We have a helicopter and I could line up a quick tour from the air as well after we meet
       if you would like. It may help you better understand the situation.

       Best,

       Steve


       From: David Behring <dbehring@us-concrete.com>
       Sent: Wednesday, June 20, 2018 8:56AM
       To: Steve Schmitz <sschmitz@B291nvestments.com>
       Subject: Re: Message and Letter from last week

       Yes sir. Does 2:30 work for you?

       Sent from my iPhone
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 141 of 160 PageID #: 147
        Begin forwarded message:

              From: David Behring <dbehring@us-concrete.com>
              Date: July 9, 2018 at 10:47:53 AM CDT
              To: Steve Schmitz <sschmitz@B291nvestments.com>
              Subject: RE: Stark Ranch, Cooke County, TX

              Steve,
              We believe that the section of the Red River near
              Thackerville falls under special rules as determined by the
              Red River Boundary Compact signed in 1999 by Governors
              Bush and Keating. The method described by Ms. Foster of
              taking the median point between the vegetation and the
              floor of riverbank is not what is described in the Boundary
              Compact.
              We continue to believe that we are in the right with our
              mining program and are mining within the /(constant
              vegetation line" on the southern side of the Red River.
              The river rises and falls over the sand bars located on the
              southern side with each rain event upstream, causing the
              constant vegetation to be further south than Ms. Foster is
              showing on the documents that you have provided us.
              Further, what this will really boils down to is a land
              dispute between the Scott Trust and Stark Ranch. We are
              mining what we believe to be property of the Scott Trust
              and have paid them a royalty accordingly. If Stark Ranch
              would be found to own what has been mined, the royalty
                                                       '
              would have to be extracted from the Scott Trust in order
              to pay royalties to Stark.
              I have included a summary of the Red River Boundary
              Compact below for your review.
              As I stated to you previously, Redi-Mix has not
              intentionally trespassed onto Stark Ranch's property. We
              believe that we are within the boundaries of Scott Trust
              and have acted with that understanding. It is our
              intention to be an honorable and friendly neighbor and we
              are happy to continue this dialog until all of the parties are
              satisfied.
              Sincerely,


              (])avidJL. CJ3eliring
              Regional Vice President
              General Manager                       EXHIBIT
              South Central Region                  1_,

                                                      """"
         Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 142 of 160 PageID #: 148

Subject: Fwd: Yarbrough Ranch- Cooke County, TX
Date:      7118/2018 5:07PM
From:      "Steve Schmitz" <sschmitz@B29Investments.com>
           "Kelly Bub Smith" <ksmith@B29Investments.com>, "kbiermacher@krcl.com"
To:
           <kbiermacher@krcl. com>




Sent from my iPhone

Begin forwarded message:


        From: sschmitz@B29Investments.com
        Date: July 18, 2018 at 5:06:38 PM CDT
        To: dbehring@us-concrete. com
        Subject: Yarbrough Ranch- Cooke County, TX


        David,

        Thank you for your e-mail. We want to be good neighbors as well, but we respectfully
        disagree with your view that the location of the property boundary is further south than
        shown on Nedra Foster's survey. We also believe you are not within the boundaries of your
        mining agreement with Scott Trust.

        After carefully reviewing Nedra Foster's survey, the Red River Compact, and Texas law, we
        continue to believe that the southern boundary of the river was altered by your conduct.
        Because the boundary line changed as a result of your conduct, Texas law supports our belief
        that some of the property north of the natural gradient boundary reflected on Nedra Foster's
        survey before you began harvesting sand and gravel is our property. Further, we believe that
        your mining activity has clearly surpassed even the current gradient boundary line that is
        reflected in Nedra Foster's survey.

        We also do not believe that the Red River Compact applies when determining the location of
        the property boundary. The text of the Red River Compact itself states that the principal
        purpose of the statute is "to establish an identifiable boundary between the states of Texas
        and Oklahoma along the Red River ... without interfering with or otherwise affecting private
        property rights or title to property." The statute was created for political purposes and is not
        the governing authority to establish boundaries of private land owners.

        Regarding the royalty payments to Scott Trust, the fact that you paid royalties to Scott Trust
        for the sand and gravel that you took from our property does not excuse the fact that you
        have failed to pay the rightful owner - us. Therefore, it would not be proper for us to seek to
        extract royalties from Scott Trust as you suggest.

        We would like to suggest scheduling a meeting between you, your surveyor, and lawyer and
        me, my surveyor (whose work you have previously seen), and my dirt and gravel lawyer.
                                                                                                           eus 'ON 6JaqwnJs
  Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 143 of 160 PageID #: 149
These are business types who can hopefully get us to a resolution without going to court.

Please let me lmow of your availability to schedule that meeting on August 1 (anytime
after 10 AM) or August 3 (anytime in the afternoon).

Like you, we share the hope of coming to a prompt mutually negotiated business resolution.

Thank you,

Steve

Sent from my iPhone
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Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 147 of 160 PageID #: 153
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 148 of 160 PageID #: 154
    Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 149 of 160  PageID
                                                                 Filed:      #: 15511:25 AM
                                                                        9/18/2018
                                                                 Marci A. Gilbert
                                                                 District Clerk
                                                                Cooke County, Texas
                                                                 Melissa Gann
                              CAUSE NO. CV18-00515

STARK RANCH-WEST, LLC                                   §      IN THE DISTRICT COURT
                                                        §
         Plaintiff,                                     §
                                                        §
v.                                                      §      235th JUDICIAL DISTRICT
                                                        §
REDI-MIX, LLC                                           §
                                                        §
         Defendant.                                     §      COOKE COUNTY, TEXAS

              PLAINTIFF'S MOTION FOR NO-ANSWER DEFAULT JUDGMENT

         Stark Ranch-West, LLC ("Stark Ranch") files its files its Motion for No-Answer Default

Judgment against Redi-Mix, LLC ("Redi-Mix" or "Defendant") and respectfully states as follows:

         2.       On August 17, 2018, Stark Ranch filed Plaintiff's Original Petition against

Defneant0, and, on August 20, 2018, Plaintiff filed Plaintiff's Frist Amended Petition against

Defendant.

         3.       On August 27, 2018, Defendant was served with process regarding the Citation for

Plaintiff's Original Petition along with copies of Plaintiff's Original Petition and Plaintiff's Second

Amended Petition.1 The proof of service has been on file with the Clerk of the Court for more than

ten (10) days.

         4.       Defendant has not filed an answer or entered an appearance in this action, and the

deadline for doing so has passed.

         5.       Defendant is an entity and is therefore not a member of the United States Military.




1
          A true and correct copy of the process server's Affidavit of Service, which was filed herein on August 28,
2018, is attached hereto as Exhibit "A" and incorporated herein. Because Defendant has been duly served with the
Citation for Plaintiff's Original Petition and with Plaintiff's First Amended Petition, Stark Ranch is not required to
serve Defendant with Citation regarding Plaintiff's First Amended Petition. TRCP 21a; In Re EA, 287 S.W.3d 1, 4
(Tex. 2009)(where defendant is served with citation and original petition, plaintiff is not required to serve defendant
with citation regarding amended petition where the amended petition is served in accordance with Rule 21a).


PLAINTIFF'S MOTION FOR NO-ANSWER DEFAULT JUDGMENT - PAGE 1                                   6541572 v1 (71175.00003.000)
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          6.      Defendant's last known mailing addresses is 331 N. Main Street, Euless, Texas

76039.2

          7.      Stark Ranch requests the Court immediately to enter a partial default judgment

against Defendant as to liability for the claims in the Petition for intentional trespass, negligent

trespass, conversion, declaratory relief, injunctive relief, and attorneys' fees.

          8.      Stark Rach's damages are unliquidated and Stark Ranch intends to set a hearing to

determine its damages and attorneys' fees and expenses.

          WHEREFORE, Plaintiff Stark Ranch requests the Court immediately to enter a partial

default judgment against Defendant as to liability, and, upon final hearing, grant Stark Ranch such

other and further relief, including damages and attorneys' fees and expenses, to which Stark Ranch

may be justly entitled.


                                                   Respectfully submitted,

                                                   KANE RUSSELL COLEMAN LOGAN PC
                                                   1601 Elm Street, Suite 3700
                                                   Dallas, Texas 75201
                                                   (214) 777-4200 / Fax (214) 777-4299


                                                   By: _s/ Boyd A. Mouse____________________
                                                        Kenneth W. Biermacher
                                                        State Bar No. 02302400
                                                        Boyd A. Mouse
                                                        State Bar No. 24003949
                                                        Emily Green
                                                        State Bar No. 24106027

                                                        ATTORNEYS FOR PLAINTIFF




2
          A Certificate of Last Known Address of Defendant is attached hereto as Exhibit "B" and incorporated
herein.


PLAINTIFF'S MOTION FOR NO-ANSWER DEFAULT JUDGMENT - PAGE 2                           6541572 v1 (71175.00003.000)
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             EXHIBIT
               "A"
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                                                                  Filed: 8/28/2018 3:44 PM
                                                                  Marci A. Gilbert
                                                                  District Clerk
                                                                  Cooke County, Texas
                                                                  Cody Shires
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             EXHIBIT
               "B"
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                                    CAUSE NO. CV18-00515

STARK RANCH-WEST, LLC                          §       IN THE DISTRICT COURT
                                               §
       Plaintiff,                              §
                                               §
v.                                             §       235th JUDICIAL DISTRICT
                                               §
REDI-MIX, LLC                                  §
                                               §
       Defendant.                              §       COOKE COUNTY, TEXAS

      CERTIFICATE OF LAST KNOWN MAILING ADDRESS OF DEFENDANT

TO THE CLERK OF THE COURT:

       Stark Ranch-West, LLC ("Stark Ranch") certifies to the Clerk of the Court that the last

known mailing address of Defendant Redi-Mix, LLC against whom a default judgment may be

rendered is 331 N. Main Street, Euless, Texas 76039.

                                             Respectfully submitted,

                                             KANE RUSSELL COLEMAN LOGAN PC
                                             1601 Elm Street, Suite 3700
                                             Dallas, Texas 75201
                                             (214) 777-4200 / Fax (214) 777-4299


                                             By: _s/ Boyd A. Mouse____________________
                                                  Kenneth W. Biermacher
                                                  State Bar No. 02302400
                                                  Boyd A. Mouse
                                                  State Bar No. 24003949
                                                  Emily Green
                                                  State Bar No. 24106027

                                                   ATTORNEYS FOR PLAINTIFF




CERTIFICATE OF LAST KNOWN MAILING ADDRESS OF DEFENDANT – PAGE 1
                                                                         6541755 v1 (71175.00003.000)
Case 4:19-cv-00651 Document 1-1 Filed 09/09/19 Page 157 of 160Filed:
                                                               PageID   #: 163 10:32 AM
                                                                     9/19/2018
                                                              Marci A. Gilbert
                                                              District Clerk
                                                              Cooke County, Texas
                                                              Melissa Gann
                                  CAUSE NO. CV18-00515

 STARK RANCH-WEST, LLC                            §         IN THE DISTRICT COURT
                                                  §
        Plaintiff,                                §
                                                  §
 v.                                               §         COOKE COUNTY, TEXAS
                                                  §
 REDI-MIX, LLC                                    §
                                                  §
        Defendant.                                §         235th JUDICIAL DISTRICT


                         DEFENDANT’S ORIGINAL ANSWER


       Defendant Redi-Mix, LLC (“Redi-Mix”) files this Original Answer in response to

Plaintiff’s Original Petition (the “Petition”).

                                 I.     GENERAL DENIAL

       1.     Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Redi-Mix enters

a general denial of the matters alleged by Plaintiff and requests that the Court require

Plaintiff to prove its allegations by a preponderance of the evidence as required by the

Constitution and laws of the State of Texas.

                           II.        AFFIRMATIVE DEFENSES

       2.     Plaintiff’s Petition fails, in whole or in part, to state a claim upon which relief

can be granted.

       3.     Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver,

estoppel, equitable estoppel, promissory estoppel, collateral estoppel, quasi-estoppel,

judicial estoppel, and/or laches.




DEFENDANT’S ORIGINAL ANSWER                                                               Page 1
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       4.     Plaintiff’s claims are barred, in whole or in part, by the applicable statute of

limitations and/or statute of repose.




Dated: September 19, 2018

                                         Respectfully submitted,


                                         AKIN GUMP STRAUSS HAUER & FELD LLP

                                         /s/ M. Scott Barnard
                                         M. Scott Barnard
                                         State Bar No. 24001690
                                         sbarnard@akingump.com
                                         Matthew V. Lloyd
                                         State Bar No. 24083404
                                         mvlloyd@akingump.com
                                         1700 Pacific Avenue, Suite 4100
                                         Dallas, Texas 75201
                                         Telephone: (214) 969-2800
                                         Facsimile: (214) 969-4343

                                         Attorneys for Defendant Redi-Mix LLC




DEFENDANT’S ORIGINAL ANSWER                                                            Page 2
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                            CERTIFICATE OF SERVICE

       I hereby certify that, on September 19, 2018, a true and correct copy of the above
and foregoing instrument has been duly served on all counsel of record in accordance with
the Texas Rules of Civil Procedure.


                                       /s/ Matthew V. Lloyd
                                       Matthew V. Lloyd




DEFENDANT’S ORIGINAL ANSWER                                                       Page 3
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